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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
MD HELICOPTERS, INC., et al.,            1                   : Case No. 22-_______ (_____)
                                                             :
                  Debtors.                                   : (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

                    DECLARATION OF BARRY SULLIVAN,
                CHIEF FINANCIAL OFFICER OF THE DEBTORS,
       IN SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

        Under 28 U.S.C. § 1764, BARRY SULLIVAN, declares as follows under the penalty of

perjury:

        1.       Since August 1, 2020, I have served as the Chief Financial Officer of MD

Helicopters, Inc. (“MDHI”) and its wholly-owned direct subsidiary Monterrey Aerospace, LLC

(“Monterrey”), which are the debtors and debtors in possession (collectively, the “Debtors” or

the “Company”) in the above-captioned cases (collectively, the “Chapter 11 Cases”).2 I hold an

inactive Certified Public Accountant license and have over 25 years of experience in building and

leading finance, treasury, tax, information technology, human resource, and supply chain

organizations in a wide variety of industries, including manufacturing, technology, and




1   The two Debtors in these cases are MD Helicopters, Inc. and Monterrey Aerospace, LLC, and their address is
    4555 E. McDowell Road, Mesa, AZ 85215. The last four digits of MD Helicopters, Inc.’s taxpayer identification
    number are 4088. Monterrey Aerospace, LLC has not been assigned a taxpayer identification number as of the
    date hereof.

2   Monterrey Aerospace Mexico S. de R.L. de C.V. is a dormant non-Debtor Mexican subsidiary with immaterial
    assets and liabilities (the “Mexican Subsidiary”). The Debtors intend to dissolve the Mexican Subsidiary and
    will seek Court authorization prior to commencing the dissolution process.
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government contracting. I am over the age of 18 and I am authorized by each of the Debtors to

submit this declaration (the “First Day Declaration”) on behalf of the Debtors.

       2.      As the Debtors’ Chief Financial Officer, I am one of four executives collectively

responsible for the day-to-day operations of the Debtors. Thus, I have personal knowledge of the

Debtors’ financial affairs and business operations. In addition, I have been responsible for

overseeing the Debtors’ preparations for these Chapter 11 Cases, their business plans, the

prepetition marketing process, and the procurement of debtor-in-possession financing. I have

further familiarized myself with the Debtors’ day-to-day operations, financial affairs, business

affairs, and books and records by reviewing key financial documents and engaging in discussions

with other members of the management team. Except as otherwise stated in this First Day

Declaration, the statements set forth herein are based on (i) my personal knowledge or opinion

derived from my experience, (ii) information that I have received from the Debtors’ employees

working directly with me or under my supervision, direction, or control, or from the various

advisors of the Debtors, and/or (iii) my review of relevant documents. Any references to the

Bankruptcy Code (as defined below), the Chapter 11 process, and related legal matters herein

reflect my understanding of such matters based on the explanations and advice counsel to the

Debtors has provided. If called upon, I would testify competently to the facts set forth in this First

Day Declaration.

       3.      On March 30, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief in the United States Bankruptcy Court for the District of Delaware (the “Court”).

The Debtors will continue to operate their businesses and manage their properties as debtors in

possession.




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       4.      I submit this First Day Declaration on behalf of the Debtors in support of their

(i) voluntary petitions for relief that they filed under Chapter 11 of Title 11 of the United States

Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and (ii) “first-day” pleadings, which the

Debtors are filing concurrently herewith (collectively, the “First Day Pleadings”). The Debtors

seek the relief set forth in the First Day Pleadings to minimize the adverse effects of the

commencement of these Chapter 11 Cases on their businesses. I have reviewed the Debtors’

petitions and the other First Day Pleadings or have otherwise had their contents explained to me,

and it is my belief that the relief sought therein is essential to ensure the uninterrupted operation

of the Debtors’ businesses and to successfully maximize the value of the Debtors’ estates.

       5.      To familiarize the Court with the Debtors, their businesses, the circumstances

leading to the commencement of these Chapter 11 Cases, the objectives of such cases, and the

relief the Debtors are seeking in the First Day Pleadings, this First Day Declaration is organized

as follows:

                  Part I provides an overview of the Company’s business and organizational
                   structure;
                  Part II provides an overview of the Company’s prepetition capital structure and
                   indebtedness;
                  Part III describes the relationship between these Chapter 11 Cases, on the one
                   hand, and the Chapter 11 cases of the Zohar Entities (defined below), on the
                   other, as well as the prepetition marketing process that was undertaken in
                   connection with the proposed sale of substantially all of the Debtors’ assets;
                  Part IV describes the changes in the Company’s management;
                  Part V provides an overview of the circumstances leading to the commencement
                   of these Chapter 11 Cases by the Debtors, the objectives of these Chapter 11
                   Cases, and the means for implementing these Chapter 11 Cases; and
                  Part VI introduces the various First Day Pleadings and sets forth my belief that
                   the relief sought therein is crucial to the Debtors’ business.




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I.     The Company’s Business and Organizational Structure

       A.      Overview of the Business

       6.      Headquartered in Mesa, Arizona, the Debtors are an original equipment

manufacturer that (i) makes and distributes single-engine and light twin-engine helicopters and

light scout and attack military helicopters that are used for commercial, military, law enforcement,

medical, utility, and personal missions and (ii) provides parts, service, logistics, and related

training to both military and commercial customers. The Debtors’ products are widely known for

their ability to serve a variety of rotorcraft market segments.        The Debtors’ class-leading

helicopters offer responsive agility, versatility, and unparalleled safety and economic value. Thus,

operators worldwide turn to the Debtors for the advantage of high-performance solutions backed

by a passion for service and support. With approximately 2,000 aircraft currently in service around

the world, the Debtors have a global and diversified customer base that includes the US Army, US

Special Operations, the Columbus Police, the Houston Police, the Argentina Armed Forces, the

Costa Rica National Police, the El Salvador Air Force, the Finnish Armed Forces, the Italian

government, the Kenya Defense Forces, the Korean Armed Forces, the Lebanese Air Force, the

Malaysian Army, the Japanese Self Defense Forces, the Jordanian Armed Forces, the Turkish

National Police, the Saudi Arabia National Guard, and many others.

       7.      The Debtors, as a leading manufacturer of military helicopters, are a valued partner

of the United States, providing crucial helicopters and services for mission critical functions. The

Debtors currently have an indefinite-delivery, indefinite-quantity contract with the United States,

under which goods and services are provided on an ongoing basis and in accordance with certain

standing terms, albeit pursuant to separate future purchase orders and contracts. The Debtors are

committed to continuing to serve the United States in accordance with the highest legal and ethical

standards.

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       8.      The Debtors’ helicopters are approved by Federal Aviation Administration

(“FAA”)-issued type certificates for design, FAA production certificates for manufacturing, FAA

repair certificates, and airworthiness certificates for operation that cover the Debtors’ intellectual

property for production of new aircraft and certified replacement parts for the Debtors’ aftermarket

maintenance and support business. Additionally, unique proprietary technologies currently used

in production allow the Debtors to build airframes to the requisite technical specifications, thereby

differentiating the Debtors from their competitors. Importantly, the Debtors produce the entire

fuselage, rotor head, and gearbox, which enables the Debtors to build an aircraft from nose to tail

in house at their single, vertically-integrated manufacturing site in Mesa, Arizona.

       9.      The Debtors’ business enjoys a recurring, high-margin commercial aftermarket

segment and a military aftermarket business with initial spares, recurring spares, and other parts-

based customer orders. This recurring revenue stream is driven by the enduring need of the

Company’s customers for parts used in operating and maintaining the helicopters. Essentially, a

helicopter consists of a collection of line replaceable units (i.e., modular components) with no

airframe structural life restriction. Although a helicopter operates in a non-pressurized

environment that exerts less stress on the airframe than the environment in which a commercial

fixed-wing aircraft operates, the effects of torque and vibration call for recurring maintenance and

parts replacement, as mandated by FAA regulations. As a result of these unique operating

conditions, the accompanying limited part life, and FAA maintenance protocols, a helicopter needs

to be continuously maintained. Therefore, each helicopter sold gives rise to a significant revenue

tail derived from the parts needed for such maintenance, either through repairs or complete

overhaul activities. Such revenue potential is supported by the Company’s expanding global




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installed base and the proprietary nature of the parts, which require FAA airworthiness

certifications.

        10.       While the Company does not currently engage in heavy maintenance and engine

restoration activities, its base of military end-customers and its vast network of service centers

position the Company to expand future aftermarket revenue. Additionally, the Company’s

aftermarket revenue is derived from pilot, military, and maintenance-training programs (as set

forth in Section C.4 below). The Company’s aggregate aftermarket revenue is expected to

experience significant compound annual growth from 2022 through 2025.

        11.       The Company continues to focus on improving its product and service offerings for

its customers and, to this end, devotes resources on an ongoing basis to process improvements,

supply chain product flow, and fuselage ramp-up as well as innovations in aircraft design and

technology integration.

        B.        Company History

        12.       MDHI traces its roots back ninety years to when the Hughes Aircraft Company

(“Hughes Aircraft”) was founded in 1932. After years of successfully manufacturing such

models such as the Hughes 269, 300, 500 and 530F for civil use and TH-55 Osage, OH-6 Cayuse,

and the highly successful AH 64-Apache for military use, Hughes Aircraft sold its helicopters

business to McDonnell Douglas in 1984. For the most part, McDonnell Douglas stayed true to the

original Hughes designs and nomenclatures. In 1997, McDonnell Douglas merged with Boeing to

become The Boeing Company. In 1999, Boeing sold the former MDHI commercial helicopter

division to MD Helicopters Holdings Inc. (“MD Holdings”), a corporation of Netherlands Antilles

and a wholly-owned subsidiary of RDM Technology Holding N.V. Included in the sale were (i)

the MD 500E and MD 530F single-engine helicopters with conventional tail rotors; (ii) the MD

520N and MD 600N single-engine helicopters with the NOTAR® no tail rotor system for anti-

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torque and directional control; and (iii) the MD 902 Explorer series of twin-engine, eight-place

helicopters, which also feature the NOTAR® system. Boeing maintained the AH-64 line of

helicopters and the intellectual property relating to the NOTAR® system.

        13.      A controlling interest in MD Holdings was acquired in July 2005 by funds affiliated

with Patriarch Partners, LLC (“Patriarch”), a private investment firm founded and owned by Lynn

Tilton, with a substantial portion of such interest acquired by certain of the Zohar Entities (as

defined below)3 managed by Ms. Tilton (such transactions, the “Patriarch / Zohar Acquisition”).

Ms. Tilton was appointed as the Company’s sole director in 2005 and also assumed the role of

Chief Executive Officer in late 2006. As set forth below, Ms. Tilton resigned from both positions

on March 21, 2020.

        14.      The Company’s issued and outstanding shares of common stock are owned by the

following Stockholders: Zohar CDO 2003-1, Limited (“Zohar I”) (21.04%); Zohar II 2005-1,

Limited (“Zohar II”) (28.63%); ARK Investment Partners II, L.P. (“AIP”) (3.61%); ARK II CLO

2001-1, Limited (“ARK II”) (38.15%); MD Helicopter B.V. (4.08%); and ABN AMRO

Participaties B.V. (4.49%). The Stockholders are party to a Stockholders Agreement dated as of

July 7, 2005 (as amended, restated, supplemented, or otherwise modified prior to the date hereof,

the “Stockholders Agreement”).              The Stockholders Agreement provides for, among other

matters, certain restrictions on the issuance and transfer of the Company’s common stock, as well

as certain voting rights, preemptive rights, and information rights.

        15.      A chart illustrating the Company’s organizational structure, as of the date hereof,

is attached hereto as Exhibit A.




3   As discussed below, the Zohar Entities are debtors and debtors in possession in separate Chapter 11 cases pending
    in this Court.

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       C.      The Company’s Business Operations

               1.      Helicopter Manufacturing and Product Line

       16.     The Company currently manufactures all of its helicopters at its headquarters in

Mesa, Arizona. The manufacturing of the Company’s products involves the use of specially

designed tooling and technologies, as well as highly skilled manual production. The Company

continually upgrades its aircraft designs and incorporates technological advances. The Company’s

current product line includes the MD 500E, MD 520N, MD 530F, MD 600N, and the MD 902

Explorer for commercial applications, as well as the MD 530F Cayuse Warrior and MD 530G

Scout Attack Helicopter for military and paramilitary customers.

               2.      Sales and Marketing

       17.     The Company employs a global network of direct and authorized third-party sales

experts and distribution facilities to deliver access to its complete family of helicopters. The global

network covers five regions: (i) North America; (ii) Latin America; (iii) Europe & Russia; (iv)

Africa & Middle East; and (v) Asia Pacific. The Company has a dedicated sales and marketing

team to source new business leads, plan strategic partnerships, manage sale representatives, and

conduct market research and analysis. Additionally, the Company’s senior management team

invests significant time and resources in sales and marketing initiatives, including attending key

tradeshows and conferences to showcase the Company’s aircraft and capabilities. For instance,

prior to the onset of the COVID-19 pandemic, members of the Company’s management team

attended the 2019 Army Aviation Mission Solutions Summit, the 2019 Airborne Public Safety

Association Conference, and the 2020 HAI Heli-Expo. Recently, members of the Company’s

management team attended the 2021 APSCON, 2022 HAI Heli-Expo, and the 2022 Doha

International Maritime Defense Exhibition and Conference.



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               3.     User Support

       18.     As noted above, the continual supply of parts to existing helicopters is an important

component of the Debtors’ business. Notably, in recent years, in addition to high-touch personal

customer service, the Company sought to augment the customer experience by investing in the

MyMD.Aero portal, a user-driven, web-based platform that was designed to modernize and

improve maintenance planning, parts availability, and communication for the Company’s

helicopter operators worldwide.

               4.     Training

       19.     The Company offers pilot, military, and maintenance training programs. For

instance, one such program, referred to as transition training, is a five-day course designed to

familiarize appropriately-rated helicopter pilots with MD500, MD520N, MD530, MD600N, and

MD 902 Explorer helicopter systems and operations. The program includes ground school and

flight training. The ground school segment covers publications, aircraft systems, operational

procedures, and preflight inspection procedures. The flight training consists of four to five hours

of flight time that includes practice of both normal flight and selected emergency procedures.

Additionally, the Company offers military training courses for both armed MD 530 helicopters

and the combat-configured MD 902 Explorers. Each course provides instruction on (i) the

fundamentals of the airframe, systems, mission equipment, weaponeering, and ballistics; (ii) basic

and advanced military tactical employment; and (iii) assault tactics, including how to safely

infiltrate/exfiltrate soldier passengers, fast rope, and land in a range of environments under

demanding conditions.

               5.     Patents, Trademarks and Licenses

       20.     The Company has rights under a number of patents that relate to a variety of

products and processes. For example, the NOTAR® anti-torque system eliminates all of the

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mechanical and safety concerns of an exposed tail rotor, including long drive shafts, hanger

bearings, intermediate gearboxes and ninety-degree gearboxes. Using the natural characteristics

of helicopter aerodynamics, the NOTAR® system provides directional control that is safe, quiet,

responsive, and foreign object damage resistant. The enclosed variable-pitch composite blade fan

produces a low pressure, high volume of ambient air to pressurize the composite tailboom. The

air is expelled through two slots which run the length of the tailboom on the starboard (right) side,

causing a boundary-layer control called the Coanda Effect. The result is that the tailboom becomes

a “wing,” flying in the downwash of the rotor system, producing up to 60 percent of the anti-torque

required in a hover. The balance of the directional control is accomplished by a rotating direct jet

thruster. In forward flight, the vertical stabilizers provide the majority of the anti-torque while

directional control remains a function of the direct jet thruster. Such technology delivers greater

safety, and reduced noise, pilot workload, and aircraft vibration. The Company produces the only

three production helicopters in the world that utilize the NOTAR® system.

               6.      Employees

       21.     As of the Petition Date, the Company employed 263 persons (excluding temporary

staff and independent contractors), the vast majority of whom are employed at the Company’s

headquarters and manufacturing facility in Mesa, Arizona.          Only three of the Company’s

employees are employed in U.S. locations other than Mesa, Arizona, and only four employees are

employed outside the United States.

       22.     The Company pays approximately 114 of its employees on an hourly basis and

approximately 149 employees by salary. None of the Company’s employees are covered by

collective bargaining agreements.

       23.     The Debtors’ employees provide a range of critical functions, including operating

the Debtors’ facilities, maintaining equipment, building airframes, assembling aircraft, managing

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the Debtors’ supply chains and procurement needs, engineering and developing the Debtors’

product lines and the manufacturing processes crucial to their production, ensuring employee

health and safety, and providing compliance, government reporting, and general corporate

services. The employees’ skills, knowledge, and understanding of the Debtors’ infrastructure and

operations are essential to the continuation of the business during these Chapter 11 Cases and to

maintaining the value of the Debtors’ assets and business. The tightening labor market has only

served to underscore how essential these employees are and increased the Debtors’ ever-present

concern about losing valuable employees to competitors. If the names and other information of

the Debtors’ employees were to be disseminated in the context of these Chapter 11 Cases, the

Debtors’ competitors could use such information to recruit the employees.             Without their

employees, the Debtors would lack a key component of their go-forward business.

               7.      Mesa, Arizona Facility

       24.     As noted above, the Company’s headquarters is located in Mesa, Arizona, where it

occupies a total of two million square feet of land area. The headquarters contains 257,000 square

feet of office and factory space that consists of, among other things, a production building, a paint

facility, a warehouse, an engineering and administration building, and a repair station. The

Company leases the land but owns the various improvements made to the land underlying the

Mesa facility. Additionally, the Company leases adjacent locations for maintenance and overhaul,

flight and maintenance training, airframe components production, and pre-assembly work. The

vertically-integrated facilities enable the Company to manufacture key components in-house,

including fuselages, main rotor heads, tail rotors, gearboxes and composite parts. The vertical

integration reduces lead times and accomplishes control of process from manufacturing of

component parts to final assembly. Other key capabilities of the Company’s Mesa facility include

painting, metal bonding, composite detail parts fabrication, metallic sub-assembly fabrication, and

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avionics installation and completion. As a result, the vertically-integrated manufacturing process

brings cost advantages and unique capabilities that result in industry leading aircraft delivery

times—on average, nine to twelve months from time of contract award to first delivery.

II.       Prepetition Capital Structure

          A.       Prepetition First Lien Facility

          25.      Debtor MDHI is the borrower under that certain Credit Agreement, dated as of July

8, 2005 (as amended,4 restated, amended and restated, supplemented, waived, or otherwise

modified, the “Prepetition First Lien Credit Agreement,” and collectively with all agreements,

documents, notes, letters of credit, mortgages, security agreements, pledges, guarantees,

subordination agreements, deeds, instruments, indemnities, indemnity letters, fee letters,

assignments, charges, amendments, and any other agreements delivered pursuant thereto or in

connection therewith, including, without limitation, the Prepetition First Lien Security Agreement

(as defined below), the “Prepetition First Lien Loan Documents”) with Debtor Monterrey, as

guarantor, Ankura Trust Company, LLC (“Ankura”),5 as the administrative agent for the Zohar

Lenders,6 Patriarch Partners Agency Services, LLC (“PPAS”), as the administrative agent for the




4     There are 55 amendments to the Prepetition First Lien Credit Agreement. Such amendments effectuated, among
      other things, restructuring of unpaid interest and commitment fees into additional tranches and modification of
      various provisions in the credit agreement, such as defined terms and events of default.

5     On March 19, 2019, Ankura Trust Company, LLC (“Ankura”) replaced PPAS as agent for the Zohar Lenders
      under the Prepetition First Lien Credit Agreement pursuant to the Order (I) Authorizing the Appointment of
      Ankura Trust Company, LLC as New Agent Under the Court-Approved Settlement Agreement by and Between
      the Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA Insurance Corp., and the Zohar III Controlling Class
      and (II) Granting Related Relief [In re Zohar III Corp., et al., Case No. 18-10512 (KBO) (the “Zohar Docket”),
      Docket No. 709]. As of the Petition Date, PPAS remains the agent for the Patriarch Lenders under the Prepetition
      First Lien Credit Agreement.

6     “Zohar Funds”, “Zohar Lenders”, and “Zohar Noteholders” means, collectively, Zohar I, Zohar II, and Zohar
      III, Limited. The Zohar Lenders constitute the Required Lenders (as defined in the Prepetition First Lien Credit
      Agreement) under the Prepetition First Lien Credit Agreement.


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Patriarch Lenders,7 Ankura and PPAS, as collateral agent (together with Ankura and PPAS in their

capacities as administrative agent, the “Prepetition First Lien Agent”), and the lenders party

thereto (collectively, the “Prepetition First Lien Lenders”)

        26.     Pursuant to the Prepetition First Lien Credit Agreement, the Prepetition First Lien

Lenders provided MDHI with a term loan facility (the “Prepetition First Lien Facility”). As of

the Petition Date, not less than $357 million in respect of the loans made under the Prepetition

First Lien Facility remain outstanding, including outstanding principal and accrued and unpaid

interest, fees, costs, expenses (including any attorneys’ and financial advisors’ fees), charges,

indemnities and all other unpaid Obligations (as defined in the Prepetition First Lien Credit

Agreement) incurred or accrued with respect to the foregoing pursuant to, and in accordance with,

the Prepetition First Lien Loan Documents (collectively, the “Prepetition First Lien

Obligations”). Of the Prepetition First Lien Obligations, the Zohar Lenders hold approximately

$332 million, or approximately 93%, and the Patriarch Lenders hold approximately $25 million,

or approximately 7%. The indebtedness under the Prepetition First Lien Facility matured in April

2019 and is currently in default.

        27.     In connection with the Prepetition First Lien Credit Agreement, the Debtors are

party to that certain Security Agreement, dated as of July 8, 2005 (as amended, supplemented or

otherwise modified from time to time, the “Prepetition First Lien Security Agreement”), among

MDHI, as grantor, the other loan parties thereto, and the Prepetition First Lien Agent. Pursuant to

the Prepetition First Lien Security Agreement and the other Prepetition First Lien Loan

Documents, the Prepetition First Lien Obligations are secured by first-priority security interests in

and liens (the “Prepetition First Lien Loan Liens”) on the “Collateral” (the “Prepetition


7   “Patriarch Lenders” and “Patriarch Noteholders” means AIP and Ark II.


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Collateral”) pursuant to, and as such term is defined in, the Prepetition First Lien Security

Agreement, consisting of substantially all of the Debtors’ assets, except as set forth in the

Prepetition First Lien Security Agreement.

        B.       Prepetition Subordinated Notes

        28.      Under that certain Notes Purchase Agreement, dated as of April 17, 2007 (as

amended, restated, amended and restated, supplemented, waived, or otherwise modified, the

“Prepetition Note Purchase Agreement,” and collectively with all agreements, documents,

notes, mortgages, security agreements, pledges, guarantees, subordination agreements, deeds,

instruments, indemnities, indemnity letters, fee letters, assignments, charges, amendments, and

any other agreements delivered pursuant thereto or in connection therewith, the “Prepetition Note

Documents”), Debtor MDHI issued certain Notes (as defined in the Prepetition Note Purchase

Agreement) to the Purchasers (as defined in the Prepetition Note Purchase Agreement).8

        29.      As of the Petition Date, an aggregate amount of not less than $59.8 million was

outstanding under the Prepetition Note Documents, including outstanding principal and accrued

and unpaid interest, fees, costs, expenses (including any attorneys’ and financial advisors’ fees),

charges, indemnities and all other unpaid obligations under the Prepetition Note Documents (the

“Prepetition Note Obligations” and, together with the Prepetition First Lien Obligations, the

“Prepetition Secured Obligations”).               Not less than $30.6 million of the Prepetition Note

Obligations is held by Zohar Noteholders, in the aggregate, with the balance held by the Patriarch

Noteholders.




8   The holders of the Notes as of the date hereof and their respective successors and assigns are collectively referred
    to herein as the “Prepetition Noteholders” and, together with the Prepetition First Lien Secured Parties, the
    “Prepetition Secured Parties”.


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        30.      The Prepetition Note Obligations are secured by second priority security interests

in and liens on the Prepetition Collateral (collectively, the “Prepetition Note Liens,” and together

with the Prepetition First Lien Loan Liens, the “Prepetition Liens”) as set forth in the Prepetition

Note Documents and subject to the terms of the Subordination Agreement (as defined below), and

as of the Petition date, such Prepetition Note Liens were senior in priority over any and all other

liens on the Prepetition Collateral, except as set forth in the Prepetition Note Documents.

        31.      Pursuant to those certain Amended and Restated Subordinated Security

Agreements, dated as of May 31, 2011, by and among Debtor MDHI, as grantor, and each of the

Prepetition Noteholders, and the other subordination agreements entered into in connection with

the Notes (collectively, the “Subordination Agreement”), the Prepetition Noteholders are

deemed to consent to the use of the Prepetition Collateral (including Cash Collateral9) and the

incurrence of the DIP Facility on the terms set forth in the DIP Orders because, among other

reasons, the Prepetition First Lien Agent, acting at the direction of the Required Lenders under the

Prepetition First Lien Credit Agreement, has consented to the same.

        C.       Terminated ABL

        32.      The Company was also party to that certain Amended and Restated Loan and

Security Agreement dated as of October 18, 2006 (as subsequently modified, the “ABL Credit

Agreement,” and the facility established under such agreement, the “ABL Credit Facility”),

under which (a) ARK II was most recently the sole lender providing a revolving line of credit in

the amount of $35 million and (b) PPAS served as the administrative agent. PPAS, at ARK II’s



9   “Cash Collateral” means any and all of the Debtors’ cash, including the Debtors’ cash and other amounts on
    deposit or maintained in any account or accounts by the Debtors, and any amounts generated by the collection of
    accounts receivable or other disposition of the Prepetition Collateral existing as of the Petition Date, and the
    proceeds of any of the foregoing, is the Prepetition Secured Parties’ cash collateral within the meaning of
    Section 363(a) of the Bankruptcy Code).


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direction, terminated the ABL Credit Facility on May 21, 2020 and, as of that time, there were no

loans outstanding thereunder. In the twelve months prior to the termination, as much as $34

million had been drawn from the ABL Credit Facility. After the termination, the Company was

required to take actions to preserve liquidity to address working capital needs.

       D.      Unsecured Debt

       33.     The Debtors have no funded unsecured debt. In the ordinary course, the Debtors

incur trade debt with certain vendors and suppliers in connection with the operation of their

business. In addition, the Debtors have other potential and contingent liabilities related to

litigation, pension, and employee obligations, certain of which are described herein.

       34.     In particular, the Debtors note the three following creditors arising from litigation

and arbitration matters:

               1.      The 2020 Netherlands Judgment

       35.     In 2005, the National Police Services Agency of the Netherlands (the “KLPD”)

brought suit against the Company in two separate actions in the Hague District Court in the

Netherlands, alleging that the Company is liable by way of a corporate guaranty for the default of

a distributor to deliver certain aircraft to the KLPD under a procurement contract executed in 2001

under the Company’s prior ownership (the “2001 Contract”). The Hague District Court rendered

two separate judgments against the Company for damages plus fees and interest. The judgments

were assigned to the State of the Netherlands (the “Netherlands”) and appealed to the Hague

Court of Appeal, which consolidated the appeals and awarded a consolidated judgment in the

statutory amount of approximately €7 million in May 2012 (the “Foreign Judgment”).

       36.     On August 28, 2015, the Netherlands sought recognition of the Foreign Judgment

in the Superior Court of Maricopa County, Arizona (the “Superior Court”). The Company moved

successfully to dismiss the action on December 15, 2015. The Netherlands filed an amended claim,

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and moved for summary judgment in March 2018. The Superior Court issued a decision in favor

of the Netherlands in August 2018, and on November 13, 2018, issued a judgment in favor of the

Netherlands in the amount of $15,074,750, including interest and fees (the “Arizona Judgment”).

See State of the Netherlands v. MD Helicopters, Inc., No. CV2015-095127 (AZ Maricopa Super.

Ct. Nov. 13, 2018). The Company appealed the Arizona Judgment to the Arizona Supreme Court,

which ultimately ruled that the judgment was enforceable in Arizona on December 30, 2020. See

State of the Netherlands v. MD Helicopters, Inc., 250 Ariz. 235 (2020). On September 23, 2020,

the Netherlands registered the Arizona Judgment in the Supreme Court of the State of New York.

See State of the Netherlands v. MD Helicopters, Inc., Index. No. 157756/2020, ECF No. 6 (N.Y.

Sup. Ct. Sept. 23, 2020). On March 1, 2022, the Netherlands served a notice of deposition that

required MDHI to appear for a debtor exam on March 29, 2022. The parties subsequently agreed

to reschedule the deposition until April 2022.

       37.     Following the affirmation of the Foreign Judgment by the Netherlands Court of

Appeals, on December 2, 2015, the Netherlands filed a separate claim in the Hague District Court,

seeking additional contractual damages against the Company based on the 2001 Contract. The

Netherlands seek total contractual damages of €43 million in additional procurement costs it

sustained following the breach. The Company denied all liability under the 2001 Contract or

otherwise. On March 25, 2020, the Hague District Court rendered its final decision dismissing the

Netherlands’ claim for the additional damages. On July 27, 2021, the Netherlands appealed this

denial by the Hague District Court. The Company has submitted its response to the appeal filed

by the Netherlands. The appeal is expected to be heard in the second quarter of 2022. In the event

a judgment is rendered against the Company, the Company expects to challenge the judgment as

unenforceable in the United States.



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                 2.      The 2021 Qui Tam/FCA Litigation and Settlement

         38.     On May 3, 2013, Philip Marsteller and Robert Swisher (collectively, the

“Relators”) brought an action under the qui tam provisions of the False Claims Act in the United

States District Court for the Northern District of Alabama (Northeastern Division) (the “Alabama

District Court”) captioned United States ex rel. Philip Marsteller, et al. v. Lynn Tilton, MD

Helicopters, Inc., et al., Case No. 5:13-cv-00830-AKK (the “Qui Tam Action”). The United

States of America (the “Government”) declined to intervene in the Qui Tam Action. In the Qui

Tam Action, the Relators named Ms. Tilton, Patriarch, MDHI, and Norbert Vergez as defendants,

alleging improper conduct associated with MDHI’s government contract procurement. The

conduct at issue in the Qui Tam Action occurred nearly 10 years ago. The individuals involved

with such conduct are no longer with the Company.10

         39.     On August 23, 2021, the Alabama District Court granted MDHI’s motion for

summary judgment in part and denied it in part. The summary judgment motion was granted as

to (a) the Relators’ pricing-based fraudulent inducement theory, (b) the Federal Acquisition

Regulations (“FAR”)-based fraudulent inducement theory regarding the Afghanistan primary

trainer contract and CLS modification, and (c) the conspiracy claim against Ms. Tilton and

Patriarch Partners, LLC. Accordingly, the claims in Counts I-V related to a price-based fraudulent

inducement theory, the FAR-based fraudulent inducement theory pled in Counts I and II, and the

conspiracy claim in Count VI were dismissed with prejudice. The summary judgment motion was

denied as to the Relators’ FAR-based theory of fraudulent inducement regarding the El Salvador




10   The Debtors have rigorous compliance and business ethics policies and procedures in place, with a strong
     commitment to maintaining the highest legal and ethical standards in conducting business.


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(Count III), Saudi Arabia (Count IV), and Costa Rica (Count V) contracts. The Qui Tam Action

proceeded to trial solely as to the FAR-based theory on those three contracts, and only as to MDHI.

       40.     On September 24, 2021, a jury returned a verdict against the Company in the

amount of approximately $36.8 million on the FAR-based theory, which amount is subject to

trebling under the applicable federal laws. On October 18, 2021, the Alabama District Court

entered an order (as amended) that, among other things, stayed the entry of final judgment and

instructed the parties to engage in mediation.

       41.     On November 8, 10, and 29, 2021, as ordered by the Alabama District Court, the

Debtors, the Relators, and certain insurers of the Debtors (the “Insurers”) participated remotely

in mediation before the Honorable Leo S. Papas (ret.). Following the mediation, on December 22,

2021, the Debtors and the Relators entered into an initial memorandum of understanding that

outlined the terms of a prospective settlement.

       42.     On January 31, 2022, the Debtors, the Relators, and the Prepetition First Lien

Lenders commenced a series of remote mediation sessions before the Honorable Christopher S.

Sontchi with the goals of inviting the Debtors’ primary constituents to the table and resolving the

Qui Tam Action to (i) prevent the entry of a judgment by the Alabama District Court that would

necessitate an expedited Chapter 11 filing by the Debtors and (ii) minimize distractions to the

Debtors’ sale process. At the conclusion of the mediation, on February 14, 2022, the Debtors and

the Relators executed a first amended memorandum of understanding (the “Qui Tam MOU”) that

provided a roadmap for the terms that would be included in a settlement agreement by and among

the Debtors, the Relators, the Government, the Insurers, and the Zohar Lenders. As set forth in

detail below, one of the terms in the Qui Tam MOU required that the Debtors and the Relators

work cooperatively and in good faith to finalize a restructuring support agreement by and among



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the Debtors, the Relators, the Insurers, and the Zohar Lenders, initially within fourteen (14) days

after February 14, 2022, which deadline was extended from time to time to allow discussions

regarding the settlement agreement to progress. As set forth below, on the Petition Date, the

Debtors, the Relators, the Zohar Lenders, and the Insurers entered into the restructuring support

agreement attached hereto as Exhibit B (the “RSA”).

               3.      The TAI Arbitration and Settlement

       43.     On March 20, 2015, Turkish Aerospace Industries (“TAI”), a supplier to the

Debtors, filed a request for arbitration with the International Chamber of Commerce (the “ICC”)

seeking approximately $6.66 million in damages from the Debtors for breach of a purchase

agreement. The parties subsequently reached a settlement (the “TAI Settlement”), pursuant to

which the arbitration was stayed and the Debtors agreed to purchase two fuselages for $900,000

along with approximately $2.1 million in other helicopter parts from TAI, with the purchase

subject to the condition that TAI would provide certificates of conformance (“certificates”) for

the parts. After the Debtors purchased and paid $900,000 for the two fuselages, a dispute arose

regarding the certification requirements for the additional parts. TAI requested that the arbitration

tribunal declare the TAI Settlement void and order the Debtor to pay approximately $12.5 million

in damages for breach of the original purchase agreement. On July 20, 2021, the arbitration

tribunal denied both of TAI’s requests, made a finding that the TAI Settlement was valid, and

directed TAI to provide certificates and the Debtors pay for all parts for which certificates were

provided.

       44.     Although TAI subsequently provided certificates in response to the ICC ruling, the

dispute remained unresolved after the Debtors found most of the certificates to be

inadequate. Accordingly, the Debtors continue to withhold payment for the additional parts until



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they receive adequate certificates pursuant to the arbitration tribunal’s ruling. In November 2021,

the Company and TAI engaged in settlement discussions but were unable to resolve their dispute.

           45.      On February 4, 2022, TAI filed a new request for arbitration with the ICC to declare

the TAI Settlement void and to order the Debtors to pay approximately $12.8 million in

damages. The new arbitration tribunal has not yet set a date for the arbitration, and the case

remains pending. As of the Petition Date, the Debtors believe they owe approximately $1.98

million to TAI pursuant to the TAI Settlement, which will be due and payable upon their receipt

of adequate certificates of conformance.

III.       The Relationship Between These Cases and the Zohar Chapter 11 Cases

           46.      As noted above, Zohar I and Zohar II together constitute the Debtors’ largest

shareholder owning approximately 49.67% of the MDHI’s outstanding equity, and the Zohar

Lenders, collectively, are the Debtors’ largest senior secured creditor holding approximately 93%

of the Prepetition First Lien Claims. The Zohar Lenders and three affiliated entities (together with

the Zohar Lenders, the “Zohar Entities”) filed voluntary petitions for relief under Chapter 11 of

the Bankruptcy Code on March 11, 2018 in this Court. Their jointly administered Chapter 11

cases are currently pending under the caption In re Zohar III Corp., et al., Case No. 18-10512 (the

“Zohar Chapter 11 Cases”).

           47.      As described in the Declaration of Lynn Tilton in Support of Chapter 11 Petitions

[Zohar Docket No. 5] and the Declaration of Marc S. Kirschner in Support of Chapter 11 Petitions

[Zohar Docket No. 6],11 the Zohar Entities were six collateralized loan obligation funds that were

lenders to and owned equity in a number of portfolio companies, including MDHI. According to

her declaration, Ms. Tilton caused the Zohar Entities to commence the Zohar Chapter 11 Cases


11     “Zohar Docket No.” indicates that a document was filed in the Zohar Chapter 11 Cases.


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with the goal of providing an organized structure through which the value of the portfolio

companies could be monetized and maximized for the benefit of the stakeholders in the Zohar

Chapter 11 Cases.

       48.     On May 21, 2018, the Court entered the Order Approving and Authorizing the

Settlement Agreement by and Between the Debtors, Lynn Tilton, the Patriarch Stakeholders, MBIA

Insurance Corp., and the Zohar III Controlling Class [Zohar Docket No. 266] (the “Settlement

Order”), approving the Settlement Agreement (as defined in the Settlement Order) [Zohar Docket

No. 266, Ex. 1] among the Zohar Entities, Ms. Tilton and her affiliates, and other key stakeholders

in the Zohar Chapter 11 Cases. Among other things, the Settlement Agreement required Ms. Tilton

(on behalf of the Group A Portfolio Companies) and the Zohar Entities’ Independent Director and

Chief Restructuring Officer (on behalf of the Zohar Entities) to monetize the various portfolio

companies in which the Zohar Entities hold secured debt and/or equity interests (such process, the

“Monetization Process”).

       49.     On March 20, 2020, the Court entered the Order Establishing Certain Guidelines

and Milestones in Furtherance of the Monetization Process for the Group A and Group B Portfolio

Companies [Zohar Docket No. 1500] (the “Monetization Process Order”), which set forth certain

guidelines and milestones to govern the go-forward Monetization Process under the Settlement

Agreement.

       50.     On July 2, 2020, the Court entered the Amended Order Establishing Certain

Guidelines and Milestones in Furtherance of the Monetization Process for the Group A and Group

B Portfolio Companies [Zohar Docket No. 1751] (the “Amended Monetization Process Order”),

which made certain modifications to the Monetization Process Order to account for changing

circumstances since its entry. Among other things, the Amended Monetization Process Order



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provides that, if the governing body for a Portfolio Company is an independent third party, the

governing body “shall be responsible for conducting the sales process on behalf of the Portfolio

Company.” Amended Monetization Process Order ¶ 8.

IV.     Company Management

        51.    On March 21, 2020, Ms. Tilton resigned as the Chief Executive Officer and the sole

director of the Company, leaving key offices at the Company vacant. As stated in a confidential

submission to the Court, dated May 11, 2020, Alan Carr was elected as the sole director for MDHI

(the “Director”) on April 20, 2020 at a special meeting of shareholders and was re-elected as the

sole director on May 15, 2020 at the annual meeting of shareholders. Pursuant to the Amended

Monetization Process Order, Mr. Carr, in his capacity as MDHI’s Independent Fiduciary (as

defined in the order), has been responsible for, among other things, conducting the sale process of

MDHI.

V.      Key Events Leading to Commencement of These Chapter 11 Cases

        A.     The Circumstances Prior to the Petition Date

        52.    A number of factors have negatively affected the Debtors’ financial condition,

destabilized the Debtors’ business, and threaten to further deteriorate the value of the Debtors’

assets. To begin, the Prepetition First Lien Obligations matured in June 2019, and the Debtors

were unable to repay or refinance such indebtedness. Since that time, the Debtors have been in

default under the Prepetition First Lien Credit Agreement, which has negatively affected the

Debtors’ ability to access financing and, in turn, has hampered their ability to compete for certain

capital-intensive contracts. Specifically, the Debtors have been unable to obtain bonding due to

the default under the Prepetition First Lien Credit Agreement and, as a result, have been unable to

compete for contracts that include bonding requirements. As set forth above, the Debtors’ liquidity

became further restricted after the termination of the ABL Credit Facility.

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       53.     As set forth above, the Debtors have also been named as defendants in several

lawsuits and have expended significant resources defending those lawsuits. Two of those lawsuits

have had significant adverse impact on the Debtors, as described above: (i) the State of the

Netherlands obtained an approximately $15 million judgment against the Debtors in May 2012,

which was registered in Arizona and New York in November 2018 and September 2020,

respectively, and (ii) a jury returned a verdict against the Debtors in the Qui Tam Action awarding

damages in the amount of approximately $36.8 million in September 2021.

       54.     Compounding these issues, the Debtors’ business has also faced headwinds from

the U.S. military’s withdrawal from Afghanistan and attendant wind-down of the Debtors’

contracts to supply helicopters and provide related services to the Afghanistan military, which had

represented a material portion of the Debtors’ revenues. The materiality of this wind-down cannot

be overstated; it caused an approximately a 40% reduction in the Company’s gross revenue and

the loss of orders to supply approximately 20 helicopters that would have generated $160 million

in gross revenue. Additionally, the Debtors have experienced supply chain disruptions caused by

the COVID-19 pandemic, which have resulted in delays in certain sales.           As a result of these

factors, among other financial and operating difficulties, the Debtors have been operating under a

cloud of uncertainty that has strained the Debtors’ cash flows and negatively affected liquidity.

       B.      Prepetition Sale and Marketing Process

       55.     The Debtors have determined that, in consideration of cash-flow concerns and the

Monetization Process, pursuing a sale of all or substantially all of the Debtors’ assets (the “Assets”)

is the best available option for maximizing the value of those Assets. In July 2020, the Debtors

retained Moelis & Company LLC (“Moelis”) to assist them in exploring a sale transaction to




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maximize the value of the Assets in accordance with the Monetization Process.12 Beginning in

October 2021, the Debtors’ management, together with the assistance of their advisors (in

particular, Moelis), undertook a robust process to market the Assets under the oversight of the

Director. Moelis’s efforts in respect of the prepetition sale and marketing process are described in

further detail in the Declaration of Adam B. Keil in Support of Bid Procedures and Sale Motion

(the “Keil Declaration”).

         C.       The Debtors’ Entry into the Stalking Horse Agreement

         56.      The prepetition marketing process culminated in execution of that certain Asset

Purchase Agreement (the “Stalking Horse Agreement”), by and between the Debtors and MDH

Holdco, LLC (the “Stalking Horse Bidder”).13 The Stalking Horse Bidder is an affiliate of the

Zohar Funds which, as described above, hold approximately 49.7% of MDHI’s equity and

approximately 93% of the Prepetition First Lien Obligations. The Zohar Funds are bidding in

conjunction with their creditors, which creditors will be the ultimate beneficial economic owners

of the Stalking Horse Bidder. The Stalking Horse Agreement was the product of arms’-length,

good-faith negotiations among the Debtors and the Stalking Horse Bidder. The negotiation of the

Stalking Horse Agreement on behalf of the Debtors was led by the Debtors’ management and

advisors under the oversight of the Director. At all times, the Stalking Horse Bidder has been

represented by separate counsel in negotiations resulting in execution of the Stalking Horse

Agreement. On March 29, 2022, the Director adopted resolutions authorizing the Debtors to enter

into the Stalking Horse Agreement.


12   Moelis was previously retained by the Debtors in May 2018 in connection with a sale transaction. The Debtors
     (under prior leadership) ultimately determined not to pursue a transaction at that time. Moelis was then reengaged
     by the Director in July 2020 for the latest prepetition sale process.

13   The Stalking Horse Bidder is controlled by a creditor consortium led by Bardin Hill Investment Partners LP and
     MBIA Insurance Corporation.


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       D.      The Debtors, the Relators, and the Insurers Agreed to the Economic Terms
               of the Qui Tam Settlement Agreement and Entered into the RSA

       57.     Immediately following the execution of the Qui Tam MOU and in accordance with

the terms thereof, the Debtors, the Relators, and the Insurers began to negotiate a form of

settlement agreement that substantially reflects the terms found in the Qui Tam MOU (the “Qui

Tam Agreement”) and a form of stipulation containing bankruptcy related provisions (the “DOJ

Stipulation,” together with the Qui Tam Agreement, the “Qui Tam Settlement”). On March 29,

2022, subject to subsequent input from the Government (a contemplated signatory to the Qui Tam

Settlement), the parties reached consensus on the terms of such agreement. Discussions with the

Government with respect to the Qui Tam Settlement commenced prepetition and will continue

postpetition in a manner consistent with the RSA. In order to effectuate the Qui Tam Settlement

and pursuant to the RSA, the Debtors anticipate filing a motion under Rule 9019 of the Federal

Rules of Bankruptcy Procedure in the coming weeks.

       58.     On the Petition Date, the Debtors, the Relators, the Zohar Lenders, and the Insurers

entered into the RSA, which contemplates execution of the Debtors’ restructuring transactions

through either (i) a plan of reorganization or a plan of liquidation or (ii) a sale pursuant to Section

363 of the Bankruptcy Code. The “toggle” concept is reflected in the Bidding Procedures (as

defined below) to preserve the flexibility for a value-maximizing transaction.

       E.      Bid Procedures and Postpetition Marketing

       59.     As described above, the Debtors believe that a prompt sale of the Assets through a

competitive process is the best option available to maximize the value of the Assets for all

stakeholders in these Chapter 11 Cases. In light of the challenges the Debtors face, which are

described in further detail above, the Debtors are critically focused on stabilizing the business and

providing certainty to their vendors, suppliers, customers, and workforce regarding the path


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forward for the business by consummating a value maximizing sale transaction. Prepetition, the

Debtors took important first steps toward achieving that goal by negotiating and executing the

RSA and the Stalking Horse Agreement. It is critical that the Debtors seize on that momentum by

cementing a process for the swift and orderly transition of the Debtors’ business to the successful

bidder. Doing so will signal to the Debtors’ customers, vendors, employees, and other constituents

from the outset of these Chapter 11 Cases that the Debtors’ situation is only temporary and that

the business will emerge from the Chapter 11 process with new owners and a more stable capital

structure.

        60.    Accordingly, the immediate focus of these Chapter 11 Cases is the approval of the

sale of the Assets to the Stalking Horse Bidder or such other buyer that emerges postpetition with

a higher or otherwise better offer for the Assets. While there is a real need for expediency here,

the Debtors recognize that conducting a postpetition market check on the terms and conditions set

forth in the Stalking Horse Agreement is appropriate and necessary to ensure that the value of the

Assets is maximized. To that end, notwithstanding the lengthy and thorough Prepetition Marketing

Process, there may be additional entities, in addition to the Stalking Horse Bidder, interested in

participating in the auction with respect to the Assets. Indeed, consistent with the Stalking Horse

Agreement, the Debtors, with the assistance of their advisors, have continued, and will continue,

to market the Assets to potential buyers through the bid deadline. The Stalking Horse Agreement

offers the Debtors and their stakeholders certainty by establishing a minimum purchase price for

the Assets and signaling to other potential bidders the currently prevailing market value of the

Assets, while also affording the Debtors an opportunity to seek higher or otherwise better offers.

        61.    Contemporaneous with the filing of these Chapter 11 Cases, the Debtors filed a

motion (the “Bid Procedures/Sale Motion”) seeking, among other relief, approval of certain bid



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procedures (the “Bid Procedures”) and approval of the sale to the Stalking Horse Bidder or such

other buyer providing a higher or better offer for the Assets. Further, by the Bid Procedures/Sale

Motion, the Debtors seek entry of an order establishing the following sale timeline:

               (a)    Assumed Contract Objection Deadline: Objections to (i) the potential
                      assumption and assignment of any contract to the Stalking Horse Bidder
                      including the ability of the Stalking Horse Bidder to provide adequate
                      assurance of future performance and (ii) the proposed cure amount to be
                      paid in connection with the assumption and assignment of any contract shall
                      be filed and served no later than May 11, 2022 at 4:00 p.m. (prevailing
                      Eastern Time) (the “Assumed Contract Objection Deadline”); provided,
                      that, to the extent any contract counterparty is added to the Assumption
                      Notice after the initial notice is served, such new contract counterparty shall
                      have ten (10) days from the date of service of the supplemental contract
                      notice to object to the proposed cure amount and assignment to the
                      successful bidder.

               (b)    Sale Objection Deadline: Objections to the sale shall be filed and served
                      no later than May 11, 2022 at 4:00 p.m. (prevailing Eastern Time).

               (c)    Intention to Submit Qualified Bid Deadline: Intentions to submit qualified
                      bid must be received by no later than May 20, 2022 at 4:00 p.m.
                      (prevailing Eastern Time) (the “Intention to Submit Qualified Bid
                      Deadline”).

               (d)    Bid Deadline: Bids for the Assets, including a marked-up form of the
                      Stalking Horse Agreement, as well as the deposit and the other requirements
                      for a bid to be considered a Qualified Bid (as defined in the Bid Procedures)
                      must be received by no later than June 3, 2022 at 4:00 p.m. (prevailing
                      Eastern Time) or such later date as may be agreed to by the Debtors (the
                      “Bid Deadline”).

               (e)    Auction: The Auction, if necessary, shall be held on June 9, 2022 at 10:00
                      a.m. (prevailing Eastern Time), or such other location as identified by the
                      Debtors after notice to all qualified bidders.

               (f)    Post-Auction Notice Deadline: As soon as reasonably practicable after
                      closing the auction, if any, and in any event not less than 24 hours after
                      closing the auction, the Debtors shall file and serve a notice identifying the
                      successful bidder and Back-Up Bidder.

               (g)    Post-Auction Objection Deadline: If the successful bidder that prevails at
                      the auction is not the Stalking Horse Bidder, the deadline to object solely to
                      (i) the identity of a successful bidder or (ii) the ability of the successful
                      bidder to provide adequate assurance of future performance under the


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                       Assumed Contract shall be June 13, 2022 at 4:00 p.m. (prevailing Eastern
                       Time).

               (h)     Sale Hearing: Subject to this Court’s availability and schedule, if the
                       Debtors receive one or more intention(s) to submit qualified bid by the
                       Intention to Submit Qualified Bid Deadline, the sale hearing shall be June
                       17, 2022. If the Debtors do not receive any intention to submit qualified
                       bid by the Intention to Submit Qualified Bid Deadline, the sale hearing shall
                       be May 27, 2022.

       62.     This timeline maximizes the prospect of receiving the highest or best offer for the

Assets while ensuring that the Debtors can close the Sale no later than August 27, 2022, as is

contemplated under the Stalking Horse Agreement. This outside date was one of the substantive

negotiated deal points upon which the Stalking Horse Bidder insisted as a condition to agreeing to

serve as the stalking horse and entering into the Stalking Horse Agreement. Further, a lengthy sale

process creates uncertainty among the Debtors’ vendors, customers, and workforce, each of which

is a key business partner whose confidence and cooperation is necessary to achieve the Debtors’

goals in these Chapter 11 Cases.

       F.      DIP Financing

       63.     The Debtors are, via a motion filed contemporaneously herewith, seeking this

Court’s approval of a $60 million senior secured superpriority term loan facility (the “DIP

Facility”) with the lenders party thereto (the “DIP Lenders”) and Acquiom Agency Services LLC,

as administrative and collateral agent (the “DIP Agent”). The Debtors seek authority to make an

initial draw of $12.5 million under the DIP Facility on an interim basis with the remainder of the

DIP Facility available upon entry of the final order.

       64.     The Debtors and their advisors commenced arms’-length, good-faith negotiations

with a group of the Prepetition First Lien Lenders constituting Required Lenders under the

Prepetition First Lien Credit Agreement and the DIP Lenders with respect to postpetition financing

and the use of cash collateral. The negotiations spanned several weeks and lasted until shortly

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before the Petition Date. Ultimately, the Debtors, in consultation with their advisors, determined

that the DIP Facility represented the best postpetition DIP financing option available to the

Debtors.

       65.     The DIP Facility contains the following milestones for these Chapter 11 Cases:

                  No later than three (3) Business Days after the Petition Date, the Bankruptcy
                   Court shall enter the interim order;
                  No later than twenty-eight (28) days after the Petition Date, the Bankruptcy
                   Court shall enter the final order;
                  The Debtors shall have filed a motion with the Bankruptcy Court in form and
                   substance reasonably satisfactory to the Required Lenders prior to the first day
                   hearing seeking approval of bid procedures for a sale (the “Bidding
                   Procedures”), pursuant to Section 363 of the Bankruptcy Code of all or a
                   portion of the Assets with MDH Holdco, LLC as the proposed stalking horse
                   bidder with the ability to credit bid up to the full amount of its claims (whether
                   arising from the DIP Facility or the credit facilities provided in Prepetition First
                   Lien Credit Agreement and which credit bid may provide for the assignment of
                   the right to purchase the Assets to a newly formed acquisition vehicle);
                  No later than twenty-eight (28) days after the Petition Date, the Bankruptcy
                   Court shall have entered the order approving the Bidding Procedures (the
                   “Bidding Procedures Order”) and Stalking Horse Agreement, in form and
                   substance reasonably acceptable to the Required Lenders;
                  No later than one-hundred and five (105) days after the Petition Date, the
                   Bankruptcy Court shall have entered an order approving the sale of the Assets
                   to a successful bidder in accordance with the Bidding Procedures Order, in form
                   and substance reasonably acceptable to the Required Lenders; and
                  The closing of an acceptable sale shall have occurred no later than one hundred
                   and twenty (120) days after entry of the Petition Date.

       66.     As of the close of business on March 28, 2022, the Debtors’ total cash balance was

approximately $8,214,924, substantially all of which is encumbered by the liens securing the

Prepetition Secured Obligations. The Debtors worked with AlixPartners LLP (“AlixPartners”)

to analyze and quantify the Debtors’ potential liquidity needs for a Chapter 11 process. As part of

the Debtors’ evaluation of their liquidity position, AlixPartners worked closely with the Debtors’

management to review, analyze, and assist in the development of the Debtors’ 13-week cash flow



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forecast, which takes into consideration a number of factors, including the effect of the Chapter 11

filing on the operations of the business, fees and interest expenses associated with postpetition

financing, adequate protection payments, professional fees and expenses, and customer and vendor

obligations.

       67.      As described in the Approved Budget (as defined in the DIP Motion), the Debtors

are projected to be unable to generate enough operating cash flow in the ordinary course of

business to cover their ordinary course operating expenses, working capital needs, and the

projected costs of these Chapter 11 Cases.

       68.      As described more fully above, a number of factors have destabilized the Debtors’

business and threatened to further deteriorate the Debtors’ liquidity, including a default under the

Prepetition First Lien Credit Agreement, two significant verdicts returned against the Debtors, and

the wind-down of the Afghanistan contracts. As a result of these factors, among other financial

and operating difficulties, the Debtors have been operating under a cloud of uncertainty that has

strained the Debtors’ cash flows and negatively affected liquidity.

       69.      The Debtors have an urgent need for immediate access to the DIP Facility and Cash

Collateral on an interim and final basis. The Debtors require immediate access to the DIP Facility

to meet their obligations and avoid irreparable harm to the Debtors’ estates. Absent immediate

access to the DIP Facility and Cash Collateral, the Debtors could (a) face a severe interruption of

their business; (b) lose the support of key constituencies, including the Debtors’ workforce,

vendors, and customers; and (c) be forced to modify their operations in a significant and adverse

manner.

       70.      The Debtors rely on a highly qualified and specialized workforce whose skills are

in high demand. Indeed, in the current competitive labor market, the Debtors have faced



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challenges retaining their most qualified and skilled employees. If the Debtors are not able to

access the DIP Facility on an interim basis and signal to employees that the Debtors have the

liquidity necessary to meet ongoing obligations and bridge to a change of control transaction, I

expect those challenges to be exacerbated, which would disrupt the Debtors’ business and

ultimately harm the estates.

       71.     Likewise, the Debtors’ business relies on a complex network of vendors to provide

them with highly specialized goods and services needed to satisfy the Debtors’ stringent safety

standards, as well as the strict demands of FAA safety and other regulations and the exacting

demands of their customers. The aerospace industry is highly regulated and many of the parts and

other components incorporated in the Debtors’ helicopters must go through a rigorous FAA

certification process, which can take two to three years to complete, to ensure the safety of the

aircraft and its fitness to perform to specification. Due to the rigorous nature of the certification

process that the Debtors must undertake with each new vendor and each new part, the Debtors

would incur significant delay and costs if their vendors refused to continue to do business with

them as a result of uncertainty regarding the Debtors’ financial wherewithal. Further, without

immediate access to the DIP Facility, vendors may demand onerous trade terms, such as cash on

delivery, as a condition to continuing to do business with the Debtors, which would further strain

the Debtors’ liquidity.

       72.     Further, maintaining customer relationships is critical to the success of the Debtors’

business and preservation of the value of the estates. The Debtors’ customers rely on the Debtors

to manufacture helicopters to the highest possible safety standards, and the Debtors approach their

responsibilities to their customers in this regard with the utmost seriousness. The Debtors’ ability




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to meet their obligations to customers may be irreparably harmed without immediate access to the

DIP Facility and Cash Collateral.

          73.      In particular, immediate access to the DIP Facility and Cash Collateral is necessary

to preserve the beneficial business relationship that the Debtors have developed with the

Government. Historically, the Government has been the Debtors’ largest and most important

customer, representing a significant majority of the Debtors’ operating revenue. Maintaining a

strong relationship with the Government is, therefore, critical to the success of these Chapter 11

Cases and the Debtors’ business going forward. Pursuant to federal regulations, in awarding

contracts, the Government undertakes a holistic analysis to determine whether a prospective

contractor is responsible and able to perform under the contract. If the Debtors are unable to

demonstrate that they have sufficient working capital to perform to the high standards customers,

including the Government, have come to expect, it would in all likelihood significantly hamper

the Debtors’ ability to secure contracts going forward.

          74.      Therefore, it is imperative that the Debtors have access to the DIP Facility from the

outset of these cases in order to signal to the Debtors’ stakeholders, including their employees,

vendors, and customers, that their situation is only temporary and they have the liquidity necessary

to meet their obligations in the ordinary course until the business is able to emerge from the

Chapter 11 process with new owners and a more stable capital structure.

VI.       Facts Supporting Relief Sought in First Day Pleadings14

          75.      In furtherance of the objective of preserving value for all stakeholders, the Debtors

have sought approval of the First Day Pleadings and related orders (the “Proposed Orders”), and

respectfully request that the Court consider entering the Proposed Orders granting the First Day


14    Unless otherwise defined herein, all capitalized terms in this Part V shall have the meanings ascribed to them in
      the applicable First Day Pleadings.

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Pleadings. For the avoidance of doubt, the Debtors seek authority, but not direction, to pay

amounts or satisfy obligations with respect to the relief requested in those of the First Day

Pleadings for which such authority is sought. The First Day Pleadings include:

       A.     Administrative and Procedural Pleadings

              a.      Motion of Debtors for Entry of an Order under Fed. R. Bankr. P. 1015 and
                      Del. Bankr. L.R. 1015-1 Authorizing Joint Administration of the Chapter 11
                      Cases

              b.      Motion of Debtors for Entry of Order under 11 U.S.C. §§ 105(a) and 521,
                      Fed. R. Bankr. P. 1007(c) and 9006(b) and Del. Bankr. L.R. 1007-1(b)
                      (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of
                      Current Income and Expenditures, Schedules of Executory Contracts and
                      Unexpired Leases, and Statements of Financial Affairs and (II) Granting
                      Related Relief

              c.      Motion of Debtors for Entry of Order (I) Authorizing the Debtors to (A) File
                      a Consolidated Creditor Matrix and Consolidated List of the Top Thirty
                      Unsecured Creditors and (B) Redact from the Creditor Matrix Certain
                      Personally Identifiable Information for Employees; and (II) Granting
                      Related Relief

              d.      Application of Debtors for Appointment of Prime Clerk LLC as Claims and
                      Noticing Agent

       B.     Business Operation Motions

              a.      Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
                      §§ 105(a), 345 and 363, Fed. R. Bankr. P. 6003 and 6004, and Del. Bankr.
                      L.R. 2015-2 (I) Authorizing Continued Use of Existing Cash Management
                      System, Including Maintenance of Existing Bank Accounts, Checks, and
                      Business Forms and (II) Authorizing Continuation of Existing Deposit
                      Practices

              b.      Motion of Debtors for Entry of Interim and Final Orders under 11 U.S.C.
                      §§ 105(a), 362(d), 363(b), 507(a), 541, 1107(a) and 1108 and Fed. R.
                      Bankr. P. 6003 and 6004 (I) Authorizing (A) Payment of Prepetition
                      Workforce Obligations and (B) Continuation of Workforce Programs on
                      Postpetition Basis, (II) Authorizing Payment of Payroll-related Taxes,
                      (III) Confirming the Debtors’ Authority to Transmit Payroll Deductions,
                      (IV) Authorizing Payment of Prepetition Claims Owing to Administrators,
                      (V) Directing Banks to Honor Prepetition Checks and Fund Transfers for
                      Authorized Payments, and (VI) Granting Related Relief



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      c.    Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
            §§ 105(a), 363(b), 507(a)(8), and 541 and Fed. R. Bankr. P. 6003 and 6004
            (I) Authorizing Payment of Prepetition Taxes and Fees and (II) Granting
            Related Relief

      d.    Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
            §§ 105(a),363, 1107(a) and 1108 and Fed. R. Bankr. P. 6003 and 6004
            (I) Authorizing Debtors to (A) Pay Their Prepetition Insurance and
            (B) Maintain Their Postpetition Insurance Coverage, and (II) Granting
            Related Relief

      e.    Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
            §§ 105(a) and 366 (I) Prohibiting Utility Companies from Altering or
            Discontinuing Service on Account of Prepetition Invoices, (II) Approving
            Deposit as Adequate Assurance of Payment, and (III) Establishing
            Procedures for Resolving Requests by Utility Companies for Additional
            Assurance of Payment

      f.    Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
            §§ 105(a), 363(b), 363(c), 1107 and 1108 and Fed. R. Bankr. P. 6003 and
            6004 (I) Authorizing the Debtors to Continue Their Existing Customer
            Programs in the Ordinary Course of Business and Honor Prepetition
            Obligations Related Thereto and (II) Granting Related Relief

C.    Vendor Motions

      a.    Motion of Debtors for Entry of Interim and Final Orders Under
            11 U.S.C. §§ 105(a), 363(b), 503(b)(9), 1107(a), and 1108 and Fed. R.
            Bankr. P. 6003 and 6004 (I) Authorizing Payment of Prepetition Claims of
            the Critical Vendors, (II) Authorizing the Payment of Certain Prepetition
            Claims of 503(b)(9) Claimants, (III) Authorizing Financial Institutions to
            Honor and Process Related Checks and Transfers, and (IV) Granting
            Related Relief

      b.    Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
            §§ 105(a), 363(b), 503(b)(9), 541 and 1107(a), and Fed. R. Bankr. P. 6003
            and 6004 (I) Authorizing Payment of Prepetition Claims of Foreign
            Vendors, (II) Authorizing Financial Institutions to Honor and Process
            Related Checks and Transfers, and (III) Granting Related Relief

      c.    Motion of Debtors for Entry of Interim and Final Orders Under 11 U.S.C.
            §§ 105(a), 363(b), 503(b), 506(b), 1107(a), and 1108 and Fed. R. Bankr.
            P. 6003 and 6004 (I) Authorizing Debtors to Pay Certain Prepetition
            Claims of Shippers and Lien Claimants, (II) Confirming Administrative
            Expense Priority of Undisputed and Outstanding Prepetition Orders, and
            (III) Granting Related Relief



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       76.     I have reviewed each of the First Day Pleadings, Proposed Orders, and exhibits

thereto (or have otherwise had their contents explained to me), and the facts set forth therein are

true and correct to the best of my knowledge, information, and belief. Moreover, I believe that the

relief sought in each of the First Day Pleadings (i) is vital to enabling the Debtors to make the

transition to, and operate in, Chapter 11 with minimal interruptions and disruptions to our

businesses or loss of productivity or value; (ii) is necessary preserve valuable relationships with

customers, trade vendors and other creditors; and (iii) constitutes a critical element in the Debtors’

ability to successfully maximize value for the benefit of their estates.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 30, 2022
       Mesa, Arizona

                                               /s/ Barry Sullivan
                                               Barry Sullivan
                                               President and Chief Financial Officer




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                       Exhibit A

                Organizational Structure
                            MD Helicopters Corporate Structure

                                                                                                                                                                                       Key:

                                                                                                                                                                                         Zohar Shareholder



Zohar CDO 2003-1,   Zohar II 2005-1,                       ARK Investment                      ARK II CLO 2001-1                       Patriarch
                                                                                                                               MD Helicopter  B.V./ Ark             ABN AMRO               Ark / Tilton Debt
     Limited           Limited                             Partners II, L.P.                       Limited                                                        Participaties B.V.
                                                                           DE

                                                                                                                                                                                       Third Party Shareholder




 21.0%              28.6%                                    3.6%                                       38.1%                                                              4.5%          Intermediate Holdco
                                                                                                                                          4.1%


                                                                                                                                                                                              Group Holdco
                                                                                                                           Prepetition Term Loan Facility


                                                                                                                   - Zohar CDO 2003-1,           -ARK Investment
                                                                                                                                                                                          Borrower / Issuer
                                                                          X Helicopters, Inc
                                                                         MD                                        Limited                       Partners II, L.P.
                                                                                                                   - Zohar II 2005-1, Limited    - ARK II CLO
                                                                          X             AZ
                                                                                         AZ                        - Zohar III Limited           2001-1 Limited

                                                                                                                                                                                               Guarantor
                                                                                                                           Prepetition Subordinated Notes
                                                                                 X
                                                                                                                                                                                           Non-Guarantor /
                                                                                                                    - Zohar CDO 2003-1,           -ARK Investment                          Non-Debtor
                                                                                                                    Limited                       Partners II, L.P.
                                                                                                                    - Zohar II 2005-1, Limited    - ARK II CLO
                                   1 equity quota value                                                                                           2001-1 Limited
                                   of 1 peso
                                                                            Monterrey                                                                                                          Zohar Debt
                                                                          Aerospace, LLC
                                                                          X           DE


                                                  1 equity quota value                                                                                                                    Ark / Tilton Debt
                                                  of 2,999 pesos
                        Monterrey
                        Aerospace
                      Mexico S. de R.L.
                          de C.V.                                                                                                                                                       X Security


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                       Exhibit B

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                                                                                 Execution Version


THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE
WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A
CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OF THE BANKRUPTCY
CODE. ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING
CONTAINED IN THIS RESTRUCTURING SUPPORT AGREEMENT SHALL BE AN
ADMISSION OF FACT OR LIABILITY. UNTIL THE OCCURRENCE OF THE AGREEMENT
EFFECTIVE DATE ON THE TERMS DESCRIBED HEREIN, NOTHING HEREIN SHALL BE OR
BE DEEMED TO BE BINDING ON ANY OF THE PARTIES HERETO.
                         RESTRUCTURING SUPPORT AGREEMENT
       This RESTRUCTURING SUPPORT AGREEMENT (as amended, supplemented, or
otherwise modified from time to time in accordance with the terms hereof, this “Agreement”),
dated as of March 30, 2022, is entered into by and among the following parties:

     (i) MD Helicopters, Inc. (“MDHI”) and Monterrey Aerospace, LLC (each, together with
MDHI, a “Company Entity,” and collectively, together with MDHI, the “Company”);

        (ii) Zohar CDO 2003-1, Limited (“Zohar I”), Zohar II 2005-1, Limited (“Zohar II”), and
Zohar III, Limited (“Zohar III, together with Zohar I and Zohar II, the “Zohar Lenders”), each in
their capacities as lenders under the Term Loan Credit Agreement;

       (iii) National Union Fire Insurance Company of Pittsburgh, Pa. and AIG Specialty
Insurance Company (together, the “Insurers”); and

        (iv) Philip Marsteller and Robert M. Swisher, each in their capacity as the relators in the
qui tam action (“Relator Marsteller” or “Relator Swisher,” as applicable, and together, the
“Relators,” and together with the Zohar Lenders and the Insurers, each a “Supporting Party” and
collectively, the “Supporting Parties”) in the United States District Court for the Northern District
of Alabama, captioned United States ex rel. Marsteller and Swisher v. MD Helicopters, Inc., et al.,
Civil Action No. 5:13-cv-00830-AKK (the “Qui Tam Action”).

       Each of the Company, the Zohar Lenders, the Relators, and the Insurers are referred to as
the “Parties” and individually as a “Party.”

         WHEREAS, the Company and the Zohar Lenders have in good faith and at arm’s length
negotiated and agreed to certain restructuring transactions, which shall be implemented in
voluntary Chapter 11 cases commenced by the Company (the “Chapter 11 Cases”) through either
(i) a Plan (as defined below) or (ii) a sale pursuant to Section 363 of the Bankruptcy Code that is
consistent with the Restructuring and agreements detailed herein (the “Sale Transaction” and, the
process outlined therein, the “Sale Process”) to be conducted pursuant to the Bidding Procedures
(as defined below), and with such modifications as are reasonably acceptable to the Zohar Lenders
and the Company and approved by the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) in connection with which the Company and the Zohar Lenders are
currently negotiating in good faith as to an agreed upon form of asset purchase agreement (the
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“Stalking Horse Agreement”) by and among the Company and the purchaser thereunder (or its
designee, together, the “Stalking Horse Bidder”) in connection with the Sale Transaction;

        WHEREAS, the Company, the Relators, and the Insurers have in good faith and at arm’s
length negotiated and agreed to the terms of a settlement with respect to the Qui Tam Action as
set forth in (i) that certain Settlement Agreement (the “Qui Tam Settlement Agreement”) and (ii)
that certain stipulation and agreement (the “DOJ Stipulation,” and together with the Qui Tam
Settlement Agreement, the “Qui Tam Settlement”), each of which is subject to Government
approval and, subject to such changes as may be agreed by the parties to the Qui Tam Settlement
Agreement and DOJ Stipulation, will be presented to the Bankruptcy Court for approval pursuant
to a single motion filed by the Company under Rule 9019 of the Federal Rules of Bankruptcy
Procedure Bankruptcy in the Chapter 11 Cases (the “9019 Motion”);

       WHEREAS, in order to effectuate the Qui Tam Settlement, the Company and the Zohar
Lenders have agreed to consent to (i) the allowance of two administrative expense claims in favor
of the Government (as defined below) and the Relators, respectively, pursuant to Section 503 of
the Bankruptcy Code in the Chapter 11 Cases on account of the Company’s payment obligations
under the Qui Tam Settlement and (ii) the payment of such claims in accordance with the Qui Tam
Settlement;

         WHEREAS, in the event that the Company pursues confirmation of the Plan, the Company
will agree to grant, in accordance with the Qui Tam Settlement, (i) Relator Marsteller an allowed
general unsecured claim in the amount of $38,613,337.50 on behalf of the Government and
(ii) Relator Swisher an allowed general unsecured claim in the amount of $38,613,337.50 on behalf
of the Government (together, the “Qui Tam Unsecured Claims”), and the Parties agree that (a)
the Relators shall have sole decision-making authority as to their respective Qui Tam Unsecured
Claims for all purposes, including (without limitation) for purposes of modifying, compromising
or voting the Qui Tam Unsecured Claims, and (b) in the event (and only in the event) that the Cash
Payments and the Supplemental Cash Payments are paid in full under the terms of the Qui Tam
Settlement, (i) the Qui Tam Unsecured Claims shall be dischargeable under Section 1141(d)(1) of
the Bankruptcy Code and shall be fully discharged on the Plan Effective Date (as defined below),
(ii) neither the Relators nor the Government shall be entitled to any payment on account of the Qui
Tam Unsecured Claims in connection with any cure costs associated with the assumption or
assignment of any executory contract or unexpired lease, (iii) the Qui Tam Unsecured Claims shall
not provide any basis for offsetting, setting off, netting, reducing, recouping, crediting or similar
principle or right the Relators or the Government may have under any applicable contract, law or
otherwise, including the Bankruptcy Code, and (iv) Section 1141(d)(6) and similar provisions of
the Bankruptcy Code shall not be applicable to the Qui Tam Unsecured Claims or, to the extent
applicable, shall be waived with respect to the Qui Tam Unsecured Claims.

        WHEREAS, certain of the Zohar Lenders and their senior noteholders have further agreed
to consent to the use of Cash Collateral and to provide the Company with debtor-in-possession
financing (the “DIP Facility”) on terms consistent with (i) the Interim DIP Order (as defined
below) and (ii) the related credit agreement (the “DIP Credit Agreement”), each of which shall be
consistent with the Restructuring and the Definitive Documents requirements set forth in Section
2 of this Agreement;


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        WHEREAS, the transactions as described herein and in the Definitive Documents,
including settlement of the Qui Tam Action, the Sale Process, the Sale Transaction, and certain
restructuring and recapitalization transactions to be implemented through a Plan, if applicable,
together constitute the “Restructuring” to be consummated through the Chapter 11 Cases under
the Bankruptcy Code in the Bankruptcy Court on the terms set forth in this Agreement (including
the Stalking Horse Agreement);

      WHEREAS, as of the date hereof, the Zohar Lenders hold, in the aggregate, approximately
93% percent of the aggregate outstanding principal amount of the Term Loans (as defined below);
and

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in this Agreement.

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

               1.      Certain Definitions.

       As used in this Agreement, the following terms have the following meanings:

       a.      “Agreement” has the meaning set forth in the preamble hereto.

         b.      “Agreement Effective Date” means the date on which counterpart signature pages
to this Agreement are executed and delivered by (i) each Company Entity, (ii) the Zohar Lenders,
(iii) the Relators, and (iv) the Insurers.

        c.       “Alternative Transaction” means any reorganization, merger, transaction,
consolidation, business combination, joint venture, partnership, sale of assets, financing (debt or
equity), or restructuring or similar transaction of or by any of the Company Entities, other than the
transactions contemplated by and in accordance with this Agreement. For the avoidance of doubt,
an Alternative Transaction shall not include (i) pursuit of the Sale Process or a sale determined to
be higher or otherwise better by the Company in accordance with the Bidding Procedures, or (ii)
pursuit of confirmation of a Chapter 11 plan of liquidation or reorganization that is consistent with
the Restructuring and implements the Sale Transaction to (a) the plan sponsor identified on the
Petition Date or (b) an alternative plan sponsor whose bid is determined to be higher or otherwise
better by the Company in accordance with the Bidding Procedures, confirmation of which plan
shall take place solely following the Bankruptcy Court’s entry of the Sale Order or, in lieu of the
Sale Order, with the occurrence of any “effective date” or similar concept under such plan subject
to the occurrence of the Closing Date, if applicable, provided that such Chapter 11 plan is not
inconsistent with the Sale Process or Sale Transaction.

       d.      “Bankruptcy Code” means Title 11 of the United States Code.

       e.      “Bankruptcy Court” has the meaning set forth in the recitals to this Agreement.


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        f.     “Bankruptcy Rule” means the Federal Rules of Bankruptcy Procedure.

       g.     “Bidding Procedures” means the procedures by which (i) parties other than the
Stalking Horse Bidder or (ii) a plan sponsor (depending upon the structure proposed by the
Company on the Petition Date) may submit competing bids to acquire all or substantially all of the
Company’s assets or equity.

       h.     “Bidding Procedures Motion” means the motion filed with the Bankruptcy Court
seeking approval of the Bidding Procedures.

       i.     “Bidding Procedures Order” means the order of the Bankruptcy Court approving
the Bidding Procedures.

       j.    “Business Day” means any day other than a Saturday, Sunday, or other day on
which commercial banks are authorized to close under the laws of, or are in fact closed in, the state
of Delaware.

        k.     “Cash Collateral” has the meaning set forth in Section 363(a) of the Bankruptcy
Code.

        l.     “Cash Payments” has the meaning set forth in the Qui Tam Settlement Agreement.

        m.     “Chapter 11 Cases” has the meaning set forth in the recitals to this Agreement.

      n.     “Claim” has the meaning ascribed to such term under Section 101(5) of the
Bankruptcy Code.

        o.     “Closing Date” means the date on which the Sale Transaction contemplated herein
shall have been consummated.

        p.     “Company” has the meaning set forth in the recitals to this Agreement.

       q.    “Company Advisors” means Latham & Watkins LLP, Troutman Pepper Hamilton
Sanders LLP, Moelis & Company LLC, and AlixPartners LLP.

        r.     “Company Entity” has the meaning set forth in the recitals to this Agreement.

       s.      “Company G Order” means that certain Order (I) Authorizing the Debtors to Enter
Into One or More Potential Transactions Relating to Company G and (II) Granting Related Relief
entered by the Bankruptcy Court in the Zohar Lender Chapter 11 Cases at Docket No. 2852 in
such cases.

      t.       “Company Termination Event” has the meaning set forth in Section 6.b of this
Agreement.

        u.     “Confirmation Order” means an order of the Bankruptcy Court confirming the
Plan in form and substance reasonably acceptable to the Zohar Lenders.

        v.     “Debtors” means the Company Entities that commence Chapter 11 Cases.

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       w.     “Definitive Documents” has the meaning set forth in Section 2 of this Agreement.

       x.     “DIP Credit Agreement” has the meaning set forth in the recitals to this Agreement.

       y.     “DIP Facility” has the meaning set forth in the recitals to this Agreement.

      z.      “DIP Facility Documents” means, collectively, the DIP Credit Agreement, the DIP
Motion, and the DIP Orders.

       aa.    “DIP Motion” has the meaning set forth in Section 2 of this Agreement.

       bb.    “DIP Orders” has the meaning set forth in Section 2 of this Agreement.

       cc.    “Disclosure Statement” means the disclosure statement with respect to the Plan.

      dd.    “Disclosure Statement Approval Motion” means the motion filed with the
Bankruptcy Court seeking entry of the Disclosure Statement Approval Order.

       ee.    “Disclosure Statement Approval Order” means the order of the Bankruptcy Court
approving the Disclosure Statement and the other Solicitation Materials.

       ff.    “DOJ Stipulation” has the meaning set forth in the recitals to this Agreement.

       gg.    “Final DIP Order” has the meaning set forth in Section 2 of this Agreement.

       hh.     “First Day Pleadings” means the first-day pleadings that the Company Entities
determine are necessary or desirable to file with the Bankruptcy Court.

        ii.    “Government” means the United States of America and any department, agency,
or instrumentality thereof.

       jj.    “MDHI” has the meaning set forth in the recitals to this Agreement.

       kk.    “Insurers” has the meaning set forth in the preamble to this Agreement.

       ll.    “Interest” means an equity interest.

       mm.    “Interim DIP Order” has the meaning set forth in Section 2 of this Agreement.

      nn.     “Lenders” means the lenders party from time to time to the Term Loan Credit
Agreement.

       oo.    “Party(ies)” has the meaning set forth in the recitals to this Agreement.

       pp.    “Patriarch Lenders” means, collectively, ARK II CLO 2001-1, Ltd. and ARK
Investment Partners II, L.P.




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        qq.    “Person” means an individual, firm, corporation (including any non-profit
corporation), partnership, limited partnership, limited liability company, joint venture, association,
trust, governmental entity, or other entity or organization.

       rr.     “Petition Date” has the meaning set forth in Section 3 of this Agreement.

         ss.    “Plan” means a plan of liquidation or reorganization proposed by the Debtors,
which plan shall (a) provide for (i) the Zohar Lenders or their designees owning all of the equity
interests in the reorganized Debtors or acquiring all or substantially all of the Debtors’ assets,
(ii) an allowed general unsecured claim of Relator Marsteller in the amount of $38,613,337.50 on
behalf of the Government, and (iii) an allowed general unsecured claim of Relator Swisher in the
amount of $38,613,337.50 on behalf of the Government, (b) be consistent with the Restructuring
and the Definitive Documents requirements set forth in Section 2 of this Agreement, and (c) be in
form and substance acceptable to the Zohar Lenders; provided, that (a) the Relators shall have sole
decision-making authority as to their respective Qui Tam Unsecured Claims for all purposes,
including (without limitation) for purposes of modifying, compromising or voting the Qui Tam
Unsecured Claims, and (b) in the event (and only in the event) that the Cash Payments and the
Supplemental Cash Payments are paid in full under the terms of the Qui Tam Settlement, (i) the
Qui Tam Unsecured Claims shall be dischargeable under Section 1141(d)(1) of the Bankruptcy
Code and shall be fully discharged on the Plan Effective Date, (ii) neither the Relators nor the
Government shall be entitled to any payment on account of the Qui Tam Unsecured Claims in
connection with any cure costs associated with the assumption or assignment of any executory
contract or unexpired lease, (iii) the Qui Tam Unsecured Claims shall not provide any basis for
offsetting, setting off, netting, reducing, recouping, crediting or similar principle or right the
Relators or the Government may have under any applicable contract, law or otherwise, including
the Bankruptcy Code, and (iv) Section 1141(d)(6) and similar provisions of the Bankruptcy Code
shall not be applicable to the Qui Tam Unsecured Claims or, to the extent applicable, shall be
waived with respect to the Qui Tam Unsecured Claims.

       tt.      “Plan Effective Date” means the occurrence of the effective date of the Plan
according to its terms.

       uu.     “Plan Supplement” means the compilation of documents and forms of documents,
schedules, and exhibits to the Plan that will be filed by the Debtors with the Bankruptcy Court.

       vv.     “Qui Tam Action” has the meaning set forth in the preamble to this Agreement.

       ww.     “Qui Tam Settlement” has the meaning set forth in the recitals to this Agreement.

      xx.      “Qui Tam Settlement Agreement” has the meaning set forth in the recitals to this
Agreement.

      yy.      “Qui Tam Unsecured Claims” has the meaning set forth in the recitals to this
Agreement.

       zz.     “Relator Marsteller” has the meaning set forth in the preamble to this Agreement.

       aaa.    “Relator Swisher” has the meaning set forth in the preamble to this Agreement.

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        bbb. “Representatives” means, with respect to any Person, such Person’s directors,
officers, members, partners, managers, employees, agents, investment bankers, attorneys,
accountants, advisors, and other representatives.

       ccc.    “Required Lenders” has the meaning set forth in the Term Loan Credit Agreement.

       ddd.    “Restructuring” has the meaning set forth in the recitals to this Agreement.

       eee.    “Sale Transaction” has the meaning set forth in the recitals to this Agreement.

       fff.    “Sale Order” has the meaning set forth in Section 2 of this Agreement.

       ggg. “Sale Process” means the third-party marketing process for the Sale Transaction,
in accordance with the terms of this Agreement.

      hhh.     “Sale Process Trigger Event” has the meaning set forth in Section 2 of this
Agreement.

       iii.    “Settlement Approval Order” means the order entered by the Bankruptcy Court
granting the 9019 Motion.

      jjj.     “Stalking Horse Agreement” has the meaning set forth in the recitals to this
Agreement.

       kkk.    “Stalking Horse Bidder” has the meaning set forth in the recitals to this Agreement.

       lll.   “Supplemental Cash Payments” has the meaning set forth in the Qui Tam
Settlement Agreement.

       mmm. “Supporting Parties” has the meaning set forth in the preamble hereto.

        nnn. “Support Period” means, with respect to any Party, the period commencing on the
Agreement Effective Date and ending on the earlier of (i) the date on which this Agreement is
terminated by or with respect to such Party in accordance with Section 6 hereof and (ii) the later
of (x) the Closing Date and (y) the Plan Effective Date.

       ooo. “Solicitation Materials” means all solicitation materials in respect of the Plan as
provided for in the Disclosure Statement Approval Order.

       ppp.    “Term Loans” means the loans under the Term Loan Credit Agreement.

       qqq.    “Term Loan Claim” means any Claim on account of the Term Loans.

        rrr.   “Term Loan Credit Agreement” means that certain Credit Agreement, dated as of
July 8, 2005 (as amended), by and among the Company, the Zohar Lenders, the Patriarch Lenders,
Patriarch Partners Agency Services, LLC as agent for the Patriarch Lenders, and Ankura Trust
Company, LLC as agent for the Zohar Lenders.

       sss.    “Termination Events” has the meaning set forth in Section 6.e of this Agreement.

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       ttt.    “Zohar Lender Chapter 11 Cases`” means the voluntary cases of the Zohar
Lenders commenced under Chapter 11 of the Bankruptcy Code pending in the Bankruptcy Court
under jointly administered Case No. 18-10512 (KBO).

       uuu.    “Zohar Lenders`” has the meaning set forth in the recitals to this Agreement.

      vvv.     “Zohar Lender Termination Event” has the meaning set forth in Section 6.a of this
Agreement.

       www. “9019 Motion” has the meaning set forth in the recitals to this Agreement.

               2.      Definitive Documents and Overview of Restructuring Transactions.

        The definitive documents, including any material amendments, supplements or
modifications thereof approved in accordance with the terms of this Agreement (the “Definitive
Documents”), with respect to the Restructuring are (as applicable): (a) the Stalking Horse
Agreement; (b) the Bidding Procedures; (c) the Bidding Procedures Motion; (d) the Bidding
Procedures Order; (e) the order entered by the Bankruptcy Court approving the Sale Transaction
in accordance with the Bidding Procedures (the “Sale Order”); (f) the motion seeking approval of
the DIP Facility (the “DIP Motion”); (g) the interim and final orders granting the DIP Motion (the
“Interim DIP Order” and “Final DIP Order”, respectively, and collectively, the “DIP Orders”);
(h) the 9019 Motion; (i) the Settlement Approval Order; (j) the Qui Tam Settlement Agreement;
(k) the DOJ Stipulation; and (l) in the event the Company proposes a Plan, (i) the Plan, (ii) the
Plan Supplement, (iii) the Confirmation Order, (iv) the Disclosure Statement and the other
Solicitation Materials, (v) the Disclosure Statement Approval Motion, and (vi) the Disclosure
Statement Approval Order. The Definitive Documents, including all exhibits, annexes, schedules
and material amendments, supplements or modifications thereof relating to such Definitive
Documents, not executed or in a form attached to this Agreement as of the Agreement Effective
Date remain subject to negotiation and completion, as applicable, and except as otherwise provided
for herein, shall be consistent with this Agreement and otherwise in form and substance reasonably
acceptable to the Company and the Zohar Lenders.

        The Parties acknowledge that (a) the Government may not have completed its internal
approval process regarding the Qui Tam Settlement Agreement and/or the DOJ Stipulation in
advance of the Petition Date and (b) modifications to the Qui Tam Settlement Agreement and/or
the DOJ Stipulation may be made prior to the hearing at which the Bankruptcy Court considers
the approval of the 9019 Motion; provided that (i) the 9019 Motion, the Settlement Approval
Order, the Qui Tam Settlement Agreement, and the DOJ Stipulation, including any proposed and
agreed upon changes thereto, and (ii) any term, condition, or provision of any of the Definitive
Documents that materially affects the Settlement Approval Motion, the Settlement Approval
Order, the Qui Tam Settlement Agreement, or the DOJ Stipulation shall be in form and substance
reasonably acceptable to the Insurers and the Relators. The Parties agree to negotiate in good faith
with the Company regarding the execution of the Definitive Documents.

        The Restructuring shall be consummated either through (i) a Sale Transaction or (ii) a Plan.
In the event (a) the Debtors and the Zohar Lenders have not agreed on the terms of a Plan by March
26, 2022, or (b) the Debtors, with the consent of the Zohar Lenders and in consultation with the


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other Supporting Parties, have determined that pursuing a Sale Transaction via a motion filed under
Section 363 of the Bankruptcy Code (rather than through a Plan) is, as of March 26, 2022, the most
value maximizing or otherwise best path available, the Debtors shall pursue a Sale Transaction
with the Stalking Horse Bidder pursuant to the Stalking Horse Agreement and in accordance with
the Bidding Procedures (each, a “Sale Process Trigger Event”) by filing the Bidding Procedures
Motion in accordance with the Milestones set forth in Section 3 of this Agreement, without
prejudice to the Company’s ability to propose a Plan, upon the request and with the consent of the
Zohar Lenders, at a later date consistent with this Agreement. In the event the Debtors have agreed
on the terms of a Plan by March 26, 2022, in accordance with the Milestones set forth in Section
3 of this Agreement, the Debtors shall file such Plan and a form of the Bidding Procedures Motion
that provides adequate mechanisms to (a) allow the Company to obtain higher and better offers
from third parties, (b) afford the flexibility to any such third party to structure its bid either (i)
under an alternative Chapter 11 plan under which such party would serve as a plan sponsor or (ii)
pursuant to a sale under Section 363 of the Bankruptcy Code, and (c) permit the Zohar Lenders to
participate in such a process as a “qualified bidder.”

               3.      Milestones.

       During the Support Period, the Company shall implement the Restructuring in accordance
with the following milestones (the “Milestones”), as applicable, unless extended or waived in
writing (email from counsel being sufficient) by the Zohar Lenders; provided that any extension
or waiver of the Milestones set forth in Section 3 of this Agreement (as they apply to the 9019
Motion and the Settlement Approval Order only) shall require the written consent of the Insurers
and the Relators (email from counsel being sufficient).

            a.     No later than March 31, 2022 (the “Petition Date”), the Debtors shall have
commenced the Chapter 11 Cases;

               b.      If the Sale Process Trigger Event has not occurred:

                      (i)     No later than the Petition Date, the Debtors shall have filed (i) the
Plan, (ii) the Disclosure Statement, (iii) the Disclosure Statement Approval Motion, (iv) the
Bidding Procedures Motion, and (v) the DIP Motion;

                     (ii)    No later than three (3) Business Days after the Petition Date, the
Bankruptcy Court shall have entered the Interim DIP Order;

                     (iii)   No later than twenty-eight (28) days after the Petition Date, the
Bankruptcy Court shall have entered the Final DIP Order;

                     (iv)    No later than twenty-eight (28) days after the Petition Date, the
Bankruptcy Court shall have entered the Bidding Procedures Order;

                      (v)     No later than forty (40) days after the Petition Date, the Bankruptcy
Court shall have entered the Disclosure Statement Approval Order;

                      (vi)  No later than forty-five (45) days after the Petition Date, the Debtors
shall have filed the 9019 Motion; provided that the Milestone in this Section 3(b)(vi) shall be

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extended by an additional twenty (20) days if the Government’s agreement to the form of the Qui
Tam Settlement Agreement and the DOJ Stipulation is not obtained by twenty (20) days after the
Petition Date;

                       (vii) No later than sixty (60) days after the Petition Date, the Bankruptcy
Court shall have entered the Settlement Approval Order; provided that the Milestone in this
Section 3(b)(vii) shall be extended by an additional twenty-five (25) days if the Government’s
approval of the Qui Tam Settlement Agreement and the DOJ Stipulation is not obtained by the
Petition Date;

                     (viii) No later than one-hundred and five (105) days after the Petition
Date, the Bankruptcy Court shall have entered either the Confirmation Order or the Sale Order, as
applicable; and

                       (ix)    No later than one-hundred and twenty (120) days after the Petition
Date, either the Plan Effective Date shall have occurred or, if the Sale Order has been entered, the
Sale Transaction shall have closed.

               c.      If the Sale Process Trigger Event has occurred:

                    (i)    No later than the Petition Date, the Debtors shall have filed (i) the
Bidding Procedures Motion and (ii) the DIP Motion;

                     (ii)    No later than three (3) business days after the Petition Date, the
Bankruptcy Court shall have entered the Interim DIP Order;

                     (iii)   No later than twenty-eight (28) days after the Petition Date, the
Bankruptcy Court shall have entered the Final DIP Order;

                     (iv)    No later than twenty-eight (28) days after the Petition Date, the
Bankruptcy Court shall have entered the Bidding Procedures Order;

                      (v)    No later than forty-five (45) days after the Petition Date, the Debtors
shall have filed the 9019 Motion; provided that the Milestone in this Section 3(c)(vi) shall be
extended by an additional twenty (20) days if the Government’s agreement to the form of the Qui
Tam Settlement Agreement and the DOJ Stipulation is not obtained by twenty (20) days after the
Petition Date;

                       (vi)   No later than sixty (60) days after the Petition Date, the Bankruptcy
Court shall have entered the Settlement Approval Order; provided that the Milestone in this
Section 3(c)(vi) shall be extended by an additional twenty-five (25) days if the Government’s
approval of the Qui Tam Settlement Agreement and the DOJ Stipulation is not obtained by the
Petition Date;

                     (vii) No later than one-hundred and five (105) days after the Petition
Date, the Bankruptcy Court shall have entered the Sale Order; and



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                      (viii) No later than one-hundred and twenty (120) days after the Petition
Date, the Sale Transaction shall have closed.

               4.      Agreements of the Supporting Parties.

               a.      Restructuring Support. During the Support Period, subject to the terms and
conditions hereof, each Supporting Party agrees, severally and not jointly, that it shall (to the extent
applicable to such Supporting Party and objectively within such Supporting Party’s ability and
control):

                       (i)      consult and negotiate in good faith with the Company, its
Representatives, other Supporting Parties and their respective Representatives, and use
commercially reasonable efforts to execute, perform its obligations under, and consummate the
transactions contemplated by, the Definitive Documents to which it is or will be a party or for
which its approval or consent is required, including, to the extent necessary or appropriate,
directing the administrative and/or collateral agents under the Term Loan Credit Agreement or the
DIP Facility to effectuate the transactions contemplated herein;

                      (ii)    use commercially reasonable efforts to support and not object to the
Restructuring, including the other transactions contemplated by this Agreement and the other
Definitive Documents, and use commercially reasonable efforts to take any reasonable action
necessary or reasonably requested by the Company in a timely manner to effectuate the
Restructuring, including the transactions contemplated by the other Definitive Documents, in a
manner consistent with this Agreement, including the timelines set forth herein;

                        (iii)   not, directly or indirectly, seek, solicit, support, encourage, propose,
assist, consent to, vote for, or enter or participate in any discussions or any agreement with any
non-Party regarding, any Alternative Transaction;

                     (iv)    use commercially reasonable efforts to cooperate with and assist the
Company Entities in obtaining additional support for the Restructuring and Sale Transaction from
the Company Entities’ other creditors and interest holders;

                     (v)     support and not object to the DIP Motion and entry of the DIP
Orders in accordance with this Agreement;

                       (vi)    support and not object to the Sale Process, the Bidding Procedures
Motion, the entry of the Sale Order, the Sale Transaction, and any Chapter 11 plan that is consistent
with the Restructuring and is designed to implement the Sale Transaction and any Disclosure
Statement and Disclosure Statement Approval Motion with respect to any such Chapter 11 plan;

                     (vii) support and not object to the 9019 Motion and the entry of the
Settlement Approval Order;

                    (viii) not, directly or indirectly, interfere with the Company’s efforts to
implement and consummate the Restructuring;



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                        (ix)    not, directly or indirectly, seek, solicit, support, or encourage any
other Person to, directly or indirectly, (A) object to, delay, postpone, challenge, oppose, impede,
or take any other action or any inaction to interfere with or delay the acceptance, implementation,
or consummation of the Restructuring and the transactions contemplated in this Agreement on the
terms set forth in this Agreement and any other applicable Definitive Document, including
commencing or joining with any Person in commencing any litigation or involuntary case for relief
under the Bankruptcy Code against any Company Entity or any subsidiary thereof; (B) solicit,
negotiate, propose, file, support, enter into, consummate, file with the Bankruptcy Court, vote for,
or otherwise knowingly take any other action in furtherance of any restructuring, workout, plan of
arrangement, or Chapter 11 plan for the Company (except a Chapter 11 plan that is consistent with
and pursued in compliance with this Agreement); or (C) object to or oppose, or support any other
Person’s efforts to object to or oppose, any motions filed by the Company that are consistent with
this Agreement;

                  (x)   support and take all commercially reasonable actions reasonably
requested by the Company to facilitate the implementation and consummation of the
Restructuring;

                        (xi)    not direct any administrative agent, collateral agent or indenture
trustee (as applicable) or other such agent or trustee to take any action inconsistent with such
Supporting Party’s obligations under this Agreement, and, if any applicable administrative agent,
collateral agent or indenture trustee or other such agent or trustee (as applicable) takes any action
inconsistent with such Supporting Party’s obligations under this Agreement, such Supporting Party
shall use its commercially reasonable efforts to direct such administrative agent, collateral agent
or indenture trustee or other such agent or trustee (as applicable) to cease and refrain from taking
any such action;

                       (xii) to the extent any legal or structural impediment arises that would
prevent, hinder or delay the consummation of the Restructuring, negotiate with the Debtors in good
faith appropriate additional or alternative provisions to address any such impediment;

                       (xiii) not object to or oppose (or support any other Person in objecting to
or opposing) the retention of the Company Advisors;

                        (xiv) use commercially reasonable efforts to cooperate with and assist the
Company Entities, as well as any Successful Bidder (as defined in the Bidding Procedures and the
Bidding Procedures Order) and any assignee or designee thereof, in obtaining the Government’s
approval of the Qui Tam Settlement Agreement by March 31, 2022 or as soon as reasonably
practicable thereafter, and take any reasonable action necessary or reasonably requested by the
Company in a timely manner to obtain such approval;

                      (xv) use commercially reasonable efforts to cooperate with and assist the
Company, as well as any Successful Bidder and any assignee or designee thereof, with respect to
obtaining any required regulatory or third-party approvals in connection with the Restructuring
and the Sale Transaction, including with respect to any Government approvals for novation of any
contracts to which the Government is a counterparty, and take reasonable action necessary or
reasonably requested by the Company in a timely manner to obtain such approval; and


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                      (xvi) only seek approval of, or lend support to, a Sale Transaction or
confirmation of a Plan, as applicable, that (a) provides for payment in full of the Supplemental
Cash Payments to the Relators and (b) does not interfere with the Insurers’ obligation or ability to
pay the Cash Payments to the Relators in accordance with the Qui Tam Settlement Agreement;

                 b.      Commitments with Respect to the Plan. To the extent the Company
proposes a Plan, during the Support Period, each Supporting Party (severally and not jointly)
agrees that it shall, subject to receipt by such Supporting Party of the Solicitation Materials:

                       (i)     to the extent it is entitled to vote to accept or reject the Plan pursuant
to its terms, vote each of its Claims against and Interests in the Company to accept the Plan by
delivering its duly executed and completed ballot accepting the Plan on a timely basis following
the commencement of the solicitation of the Plan and its actual receipt of the Solicitation Materials
and the ballot;

                        (ii)    not object to the Plan;

                        (iii)   support the release, exculpation, and injunction provisions to be
provided in the Plan;

                        (iv)   to the extent it is permitted to elect to opt out of the releases set forth
in the Plan, elect not to opt out of the releases set forth in the Plan by timely delivering its duly
executed and completed ballot(s) indicating such election; and

                    (v)    not change, withdraw, amend, or revoke (or cause to be changed,
withdrawn, amended, or revoked) any vote or election referred to in clauses (i), (ii), (iii), and (iv)
above.

The Parties agree that, with respect to the Plan, the Relators shall have sole discretion with respect
to the Qui Tam Unsecured Claims for all purposes including (without limitation) for purposes of
modifying, compromising or voting the Qui Tam Unsecured Claims.

Notwithstanding the foregoing, nothing in this Agreement shall be construed (i) to affect the ability
of any Supporting Party to consult with any other Supporting Party, the Company, or any other
party in interest in the Chapter 11 Cases (including any official committee appointed in the Chapter
11 Cases and the United States Trustee); (ii) to prohibit any Supporting Party from appearing as a
party-in-interest in any matter arising in the Chapter 11 Cases; (iii) to prohibit any Supporting
Party from enforcing any right, remedy, condition, consent, or approval requirement under this
Agreement or any Definitive Document; or (iv) to prohibit any Zohar Lender from taking any
action as is necessary to preserve or defend the validity or existence of its Claims and Interests in
the Company (including the filing of proofs of claim).

                5.      Agreements of the Company.

               a.       Restructuring Support. During the Support Period, subject to the terms and
conditions hereof (including Section 9 of this Agreement), the Company agrees that it shall, and
shall cause each of its subsidiaries, to:


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                        (i)    implement the Restructuring in accordance with the terms and
conditions set forth herein and for the avoidance of doubt, only seek approval of a Sale Transaction
or confirmation of a Plan, as applicable, that (a) provides for payment in full of the Supplemental
Cash Payments to the Relators and (b) does not interfere with the Insurers’ obligation or ability to
pay the Cash Payments to the Relators in accordance with the Qui Tam Settlement Agreement;

                      (ii)   implement and consummate the Sale Transaction in a timely manner
and take any and all commercially reasonable and appropriate actions in furtherance of the Sale
Transaction, as contemplated under this Agreement;

                        (iii) upon reasonable request and subject to any limitations that the
Company believes to be necessary to protect the integrity of the Sale Process, inform the legal and
financial advisors to the Zohar Lenders, in their capacities as lenders under the Term Loan Credit
Agreement, as to the material business and financial (including liquidity) performance of the
Company Entities;

                       (iv)    without interfering with the Sale Process, (A) support and take all
commercially reasonable actions necessary and appropriate, including those actions reasonably
requested by the Zohar Lenders to facilitate the Sale Transaction, and the other transactions
contemplated thereby, in accordance with this Agreement within the timeframes contemplated
herein, (B) not take any action directly or indirectly that is materially inconsistent with, or is
intended to, or that would reasonably be expected to prevent, interfere with, delay, or impede, the
Sale Transaction, any Definitive Document or the Restructuring, (C) not, nor encourage any other
person to, take any action which would reasonably be expected to breach or be inconsistent with
this Agreement in any material respect or materially delay or impede, appeal, or take any other
negative action, directly or indirectly, to materially interfere with the Sale Transaction, any
Definitive Document or the Restructuring;

                      (v)   use commercially reasonable efforts to obtain entry of the Bidding
Procedures Order, the DIP Orders, the Settlement Approval Order, the Sale Order, the Disclosure
Statement Approval Order, and the Confirmation Order within the timeframes contemplated in
this Agreement;

                        (vi)    except as otherwise noted in the Stalking Horse Agreement or the
Plan, as applicable, use commercially reasonable efforts to maintain good standing under the laws
of the state or other jurisdiction in which each Company Entity or subsidiary is incorporated or
organized;

                        (vii) to the extent any legal or structural impediment arises that would
prevent, hinder, or delay the consummation of the Restructuring (or the Sale Process) contemplated
herein, support and take all steps reasonably necessary and desirable to address any such
impediment and to effectuate the Restructuring in accordance with this Agreement;

                      (viii) not take any action, and not encourage any other person or entity to,
take any action, directly or indirectly, that would reasonably be expected to, breach or be
inconsistent with this Agreement, or take any other action, directly or indirectly, that would



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reasonably be expected to interfere with the implementation of the Restructuring, this Agreement,
or the Sale Transaction;

                        (ix)   use reasonable best efforts under the circumstances to provide to
counsel to the Zohar Lenders draft copies of all pleadings, motions, declarations, supporting
exhibits and proposed orders and any other document that the Company intends to file with the
Bankruptcy Court that materially affects the Term Loan Credit Agreement, the Term Loan Claims,
the DIP Facility, the Stalking Horse Agreement, or the rights of the Zohar Lenders at least two (2)
calendar days prior to the date when the Company intends to file or execute such documents and
consult in good faith with such counsel regarding the form and substance of such documents;

                       (x)      use reasonable best efforts under the circumstances to provide to
counsel to the Insurers and the Relators draft copies of all pleadings, motions, declarations,
supporting exhibits and proposed orders and any other document that the Company intends to file
with the Bankruptcy Court that materially affect the Qui Tam Settlement, or the rights of the
Insurers or the Relators, at least two (2) calendar days prior to the date when the Company intends
to file or execute such documents and consult in good faith with such counsel regarding the form
and substance of such documents;

                      (xi)   timely file a formal objection to any motion filed with the
Bankruptcy Court by a third party seeking the entry of an order (A) directing the appointment of a
trustee or examiner (with expanded powers beyond those set forth in Sections 1106(a)(3) and (4)
of the Bankruptcy Code), (B) converting the Chapter 11 Cases to cases under Chapter 7 of the
Bankruptcy Code, or (C) dismissing the Chapter 11 Cases;

                       (xii) support and take all actions as are reasonably necessary and
appropriate to obtain any and all required regulatory and/or third-party approvals to consummate
the Restructuring and Sale Transaction and to cooperate with any efforts undertaken by the
Stalking Horse Bidder with respect to obtaining any required regulatory or third-party approvals
in connection with the Sale Transaction;

                      (xiii) actively oppose and object to the efforts of any person seeking to
object to, delay, impede, or take any other action to interfere with the approval, implementation,
or consummation of the Restructuring (including, if applicable, the filing of timely filed objections
or written responses in support of approval of any Definitive Documents) to the extent such
opposition or objection is reasonably necessary to facilitate implementation of the Restructuring;

                    (xiv) timely file a formal objection to any motion filed with the
Bankruptcy Court by a third party seeking the entry of an order modifying or terminating the
Company’s exclusive right to file and/or solicit acceptances of a plan of liquidation or
reorganization;

                       (xv) inform the Supporting Parties promptly after becoming aware of: (i)
any matter or circumstance which they know, or believe is likely, to be a material impediment to
the implementation or consummation of the Restructuring; (ii) any notice of any commencement
of any material involuntary insolvency proceedings, legal suit for payment of debt or securement
of security from or by any person in respect of any Company Entity; (iii) a material breach of this


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Agreement by any Company Entity; and (iv) any representation or statement made or deemed to
be made by them under this Agreement which is or proves to have been incorrect or misleading in
any material respect when made or deemed to be made; and

                     (xvi) use commercially reasonable efforts to seek additional support for
the Restructuring from their other material stakeholders to the extent the Company deems
reasonably prudent.

              b.      Negative Covenants. The Company agrees that, for the duration of the
Support Period, the Company shall not:

                         (i) take any action materially inconsistent with, or omit to take any
          material action required by, this Agreement, the Qui Tam Settlement, the Sale
          Transaction, the Restructuring, or any of the other Definitive Documents;

                        (ii) object to, delay, impede, or take any other action or inaction that
          could reasonably be expected to materially interfere with or prevent acceptance,
          approval, implementation, or consummation of the Restructuring;

                          (iii) except as agreed in writing by the Supporting Parties, file any
          pleading, motion, declaration, supporting exhibit or Definitive Document with the
          Bankruptcy Court or any other court (including any modifications or amendments
          thereof) that, in whole or in part, is not materially consistent with this Agreement or
          other Definitive Documents, or that could reasonably be expected to frustrate or
          materially impede the implementation and consummation of the Restructuring, or is
          materially inconsistent with any of the Definitive Documents;

                         (iv) modify the Plan, in whole or in part, in a manner that is not
          consistent with this Agreement in all material respects; or

                         (v) except as provided in the Stalking Horse Agreement, the Sale
          Process, the Bidding Procedures or the Plan, as applicable, engage in any merger,
          consolidation, material disposition, material acquisition, investment, dividend,
          incurrence of indebtedness or other similar transaction outside of the ordinary course of
          business other than the transactions contemplated herein.

Notwithstanding anything herein to the contrary, the provisions hereof shall not restrict the
Company’s rights under Section 9 hereof.

              6.      Termination of Agreement.

                a.      Zohar Lender Termination Events. This Agreement may be terminated with
respect to the Zohar Lenders by the Zohar Lenders by the delivery to the Company and its counsel
of a written notice in accordance with Section 20 hereof upon the occurrence and continuation of
any of the following events (each, a “Zohar Lender Termination Event”):

                     (i)    the breach by any Company Entity of (A) any affirmative or
negative covenant contained in this Agreement or (B) any other obligations of such breaching

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Company Entity set forth in this Agreement, in each case, in any material respect and which breach
remains uncured (to the extent curable) for a period of five (5) Calendar Days following the
Company’s receipt of notice from the Zohar Lenders, as applicable, pursuant to Section 20 hereof;

                     (ii)     any representation or warranty in this Agreement made by any
Company Entity shall have been untrue in any material respect when made, and such breach
remains uncured (to the extent curable) for a period of five (5) Calendar Days following the
Company’s receipt of notice from the Zohar Lenders, as applicable, pursuant to Section 20 hereof;

                        (iii)  any Company Entity files any motion, pleading, or related document
with the Bankruptcy Court that is materially inconsistent with this Agreement or the Definitive
Documents and such motion, pleading or related document has not been withdrawn within five (5)
Calendar Days after the Company receives written notice from the Zohar Lenders, as applicable,
in accordance with Section 20 that such motion, pleading, related document or public disclosure
is materially inconsistent with this Agreement;

                        (iv)   the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining,
or denying the grant of any approval or consent to, any part of the Restructuring (including the Qui
Tam Settlement and the Sale Transaction or the Plan, as applicable) or rendering illegal any
material portion thereof, and either (A) such ruling, judgment, or order has been issued at the
request of or with the acquiescence of any Company Entity, or (B) in all other circumstances, such
ruling, judgment, or order has not been reversed, vacated or stayed within fourteen (14) calendar
days after such issuance; provided that this termination right may not be exercised by any Zohar
Lender who sought or requested such ruling or order in a manner in contravention of any obligation
set forth in this Agreement and, in such instance, without obtaining the Company’s consent;

                       (v)     the Bankruptcy Court (or other court of competent jurisdiction)
enters an order (A) directing the appointment of an examiner with expanded powers or a trustee in
any of the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to cases under Chapter 7
of the Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, or (D) the effect of which
would render the Sale Transaction incapable of consummation on the terms set forth in this
Agreement;

                          (vi)    except as provided in this Agreement or with the consent of the
Zohar Lenders, the Company (A) voluntarily commences any case or files any petition seeking
bankruptcy, winding up, dissolution, liquidation, administration, moratorium, reorganization or
other relief under any federal, state or foreign bankruptcy, insolvency, administrative receivership
or similar law now or hereafter in effect except consistent with this Agreement, (B) consents to
the institution of, or fails to contest in a timely and appropriate manner, any involuntary proceeding
or petition described below, (C) applies for or consents to the appointment of a receiver,
administrator, administrative receiver, trustee, custodian, sequestrator, conservator or similar
official, trustee or an examiner pursuant to Section 1104 of the Bankruptcy Code in any of the
Chapter 11 Cases, or (D) makes a general assignment or arrangement for the benefit of creditors;

                     (vii) any Company Entity files (A) a motion, application, pleading, or
proceeding challenging the amount, validity, enforceability, perfection, or priority of, or seeking


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avoidance or subordination of, any Claims or liens held by any Zohar Lender against the Company,
(B) any plan of liquidation or reorganization, liquidation, dissolution, administration, moratorium,
receivership, winding up, bankruptcy, or sale of all or substantially all of the Company’s assets
other than as contemplated by the Stalking Horse Agreement, the Plan, as applicable, and this
Agreement, or (C) a motion, application, pleading or proceeding asserting (or seeking standing to
assert) any purported claims or causes of action against any of the Zohar Lenders;

                       (viii) the Debtors enter into any commitment or agreement to receive or
obtain, or the Bankruptcy Court enters any order approving, debtor in possession financing, cash
collateral usage, exit financing and/or other financing arrangements, other than as expressly
contemplated in the DIP Facility or any of the DIP Orders or the Debtors incur any liens or claims
that are made senior to, or pari passu with, the liens and claims of the Zohar Lenders, inclusive of
the liens and claims, granted pursuant to the DIP Facility Documents;

                       (ix)    the Bankruptcy Court enters an order denying the Sale Transaction
or confirmation of the Plan, as applicable, and such order remains in effect for fourteen (14)
calendar days after entry of such order;

                      (x)    after entry by the Bankruptcy Court of any DIP Order, Settlement
Approval Order, Bidding Procedures Order, Sale Order, Disclosure Statement Approval Order or
Confirmation Order, as applicable, such order is reversed, dismissed, stayed, vacated or
reconsidered or modified or amended in a manner that materially affects the rights and obligations
of the Zohar Lenders, without the consent of the Zohar Lenders;

                       (xi)   entry of a final order that grants relief terminating, annulling, or
materially modifying the automatic stay (as set forth in Section 362 of the Bankruptcy Code) with
regard to any assets with an aggregate fair market value in excess of $1,500,000;

                       (xii)   the termination of the DIP Facility in accordance with the DIP
Facility Documents;

                       (xiii) unless a Plan has been proposed by the Debtors in the Chapter 11
Cases prior to such termination, the termination of the Stalking Horse Agreement pursuant to the
terms set forth therein (other than as a result of the breach thereof by the Zohar Lenders or the
consummation of a Sale Transaction that results in the indefeasible payment in full, in cash, of the
DIP Obligations (as defined in the Bidding Procedures) and Term Loan Claims or as a result of
the Debtors’ designation of a Successful Bid (as defined in the Bidding Procedures) that provides
for a purchase price that would result in the indefeasible payment in full, in cash, of the DIP
Obligations (as defined in the Bidding Procedures) and Term Loan Claims);

                      (xiv) the Company (i) publicly announces its intention not to support the
Sale Transaction or the Restructuring, (ii) provides notice to counsel the Zohar Lenders pursuant
to Section 20 of this Agreement, or (iii) publicly announces, or executes a definitive written
agreement with respect, to an Alternative Transaction; or

                       (xv)    This Agreement is validly terminated by any Party hereto, in whole
or in part.


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               b.     Company Termination Events. This Agreement may be terminated by the
Company by the delivery to the Supporting Parties (or counsel on their behalf) of a written notice
in accordance with Section 20 hereof, upon the occurrence and continuation of any of the following
events (each, a “Company Termination Event”):

                       (i)     the breach in any material respect by one or more of the Supporting
Parties of any of the representations, warranties, or covenants of such Supporting Party set forth
in this Agreement, which breach remains uncured for a period of ten (10) Business Days after the
receipt by the applicable Supporting Party from the Company of written notice of such breach,
which written notice will set forth in reasonable detail the alleged breach;

                       (ii)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining
the consummation of or rendering illegal the Sale Transaction or the Plan, as applicable, or any
material portion thereof, and either (A) such ruling, judgment, or order has been issued at the
request of (or agreement by) a Supporting Party, or (B) in all other circumstances, such ruling,
judgment, or order has not been reversed or vacated within thirty (30) calendar days after such
issuance; provided that this termination right may not be exercised by the Company if any
Company Entity sought or requested such ruling or order in contravention of any obligation set
forth in this Agreement;

                        (iii)   the board of directors or managers or similar governing body, as
applicable, of any Company Entity determines (after consulting with counsel) (A) that continued
performance under this Agreement (including taking any action or refraining from taking any
action) would be inconsistent with the exercise of its fiduciary duties under applicable law or (B) in
the exercise of its fiduciary duties to pursue an Alternative Transaction; or

                       (iv)    the Bankruptcy Court enters an order denying the Sale Transaction,
or confirmation of the Plan, as applicable, and such order remains in effect for fourteen (14)
calendar days after entry of such order.

                c.     Relator Termination Events. This Agreement may be terminated with
respect to the Relators by the Relators by the delivery to the Company and its counsel of a written
notice in accordance with Section 20 hereof upon the occurrence and continuation of any of the
following events to the extent related to the Qui Tam Settlement, the 9019 Motion, or the
Settlement Approval Order (each, a “Relator Termination Event”):

                      (i)     the material breach by any Company Entity of (A) any affirmative
or negative covenant contained in this Agreement or (B) any other obligations of such breaching
Company Entity set forth in this Agreement, in each case, in any material respect and which breach
remains uncured (to the extent curable) for a period of five (5) Business Days following the
Company’s receipt of notice from the Relators, as applicable, pursuant to Section 20 hereof;

                       (ii)   the breach in any material respect by one or more of the Supporting
Parties of any of the representations, warranties, or covenants of such Supporting Party set forth
in this Agreement with respect to its obligations to only seek approval of, or lend support to, a Sale
Transaction or confirmation of a Plan, as applicable, that (a) provides for payment in full of the


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Supplemental Cash Payments to the Relators and (b) does not interfere with the Insurers’
obligation or ability to pay the Cash Payments to the Relators in accordance with the Qui Tam
Settlement Agreement;

                     (iii)   any representation or warranty in this Agreement made by any
Company Entity shall have been untrue in any material respect when made, and such breach
remains uncured (to the extent curable) for a period of five (5) Business Days following the
Company’s receipt of notice from the Relators, as applicable, pursuant to Section 20 hereof;

                       (iv)   any Company Entity files any motion, pleading, or related document
with the Bankruptcy Court that is materially inconsistent with this Agreement, the DIP Orders, the
Qui Tam Settlement, the 9019 Motion, and Settlement Approval Order and such motion, pleading
or related document has not been withdrawn within five (5) Business Days after the Company
receives written notice from the Relators, as applicable, in accordance with Section 20 that such
motion, pleading, related document or public disclosure is materially inconsistent with this
Agreement;

                       (v)     the Bankruptcy Court (or other court of competent jurisdiction)
enters an order (A) directing the appointment of an examiner with expanded powers or a trustee in
any of the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to cases under Chapter 7
of the Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, or (D) the effect of which
would render the Sale Transaction incapable of consummation on the terms set forth in this
Agreement;

                       (vi)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining,
or denying the grant of any approval or consent to, the Sale Transaction, the Plan, as applicable,
or the consummation of any material portion of the Settlement Approval Order, and either (A) such
ruling, judgment, or order has been issued at the request of or with the acquiescence of any
Company Entity, or (B) in all other circumstances, such ruling, judgment, or order has not been
reversed, vacated or stayed within fourteen (14) calendar days after such issuance; provided that
this termination right may not be exercised by the Relators who sought or requested such ruling or
order in contravention of any obligation set forth in this Agreement;

                          (vii) except as provided in this Agreement or with the consent of the
Relators, the Company (A) voluntarily commences any case or files any petition seeking
bankruptcy, winding up, dissolution, liquidation, administration, moratorium, reorganization or
other relief under any federal, state or foreign bankruptcy, insolvency, administrative receivership
or similar law now or hereafter in effect except consistent with this Agreement, (B) consents to
the institution of, or fails to contest in a timely and appropriate manner, any involuntary proceeding
or petition described below, (C) applies for or consents to the appointment of a receiver,
administrator, administrative receiver, trustee, custodian, sequestrator, conservator or similar
official, trustee or an examiner pursuant to Section 1104 of the Bankruptcy Code in any of the
Chapter 11 Cases, or (D) makes a general assignment or arrangement for the benefit of creditors;

                   (viii) the Milestones set forth in Section 3 of this Agreement (as they
apply to the 9019 Motion and the Settlement Approval Order only) have not been achieved,


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extended, or waived after the required date for achieving such Milestone, unless such failure is the
result of any act, omission or delay on the part of the Relators in violation of its obligations under
this Agreement (in which case this Relator Termination Event shall not be available as a basis for
termination of this Agreement to the Relators); or

                       (ix)    after entry by the Bankruptcy Court of the Settlement Approval
Order, such order is reversed, dismissed, stayed, vacated or reconsidered or modified or amended
in a manner that materially affects the rights and obligations of the Relators, without the consent
of the Relators;

                        (x)      the Company files any plan of liquidation or reorganization, or seeks
authority for the sale of all or substantially all of the Company’s assets other than as contemplated
by the Stalking Horse Agreement, the Plan, as applicable, and this Agreement;

                       (xi)    the Insurers fail to timely provide for payment in full of the Cash
Payment in accordance with the Qui Tam Settlement Agreement and such non-payment remains
uncured for a period of five (5) Business Days following the Company and the Insurers’ receipt of
notice from the Relators, as applicable, pursuant to Section 20 hereof; and

                       (xii) the Company fails to timely provide for payment in full of, or
provides notice to the Relators and the Government of its inability to timely provide for payment
in full of, the Supplemental Cash Payments in accordance with the Qui Tam Settlement Agreement
and such non-payment remains uncured for a period of five (5) Business Days following the
Company’s receipt of notice from the Relators, as applicable, pursuant to Section 20 hereof.

                d.      Insurer Termination Events. This Agreement may be terminated with
respect to the Insurers by the Insurers by the delivery to the Company and its counsel of a written
notice in accordance with Section 20 hereof upon the occurrence and continuation of any of the
following events to the extent related to the Qui Tam Settlement, the 9019 Motion, or the
Settlement Approval Order (each, a “Insurer Termination Event”):

                     (i)      the breach by any Company Entity of (A) any affirmative or
negative covenant contained in this Agreement or (B) any other obligations of such breaching
Company Entity set forth in this Agreement, in each case, in any material respect and which breach
remains uncured (to the extent curable) for a period of five (5) Business Days following the
Company’s receipt of notice from the Insurers, as applicable, pursuant to Section 20 hereof;

                     (ii)    any representation or warranty in this Agreement made by any
Company Entity shall have been untrue in any material respect when made, and such breach
remains uncured (to the extent curable) for a period of five (5) Business Days following the
Company’s receipt of notice from the Insurers, as applicable, pursuant to Section 20 hereof;

                       (iii)  any Company Entity files any motion, pleading, or related document
with the Bankruptcy Court that is materially inconsistent with this Agreement, the Qui Tam
Settlement, the 9019 Motion, and the Settlement Approval Order and such motion, pleading or
related document has not been withdrawn within five (5) Business Days after the Company
receives written notice from the Insurers, as applicable, in accordance with Section 20 that such


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motion, pleading, related document or public disclosure is materially inconsistent with this
Agreement;

                       (iv)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining,
or denying the grant of any approval or consent to, the Sale Transaction or the consummation of
any material portion of the Settlement Approval Order, and either (A) such ruling, judgment, or
order has been issued at the request of or with the acquiescence of any Company Entity, or (B) in
all other circumstances, such ruling, judgment, or order has not been reversed, vacated or stayed
within fourteen (14) calendar days after such issuance; provided that this termination right may
not be exercised by the Insurers if one or more of the Insurers sought or requested such ruling or
order in contravention of any obligation set forth in this Agreement;

                          (v)     except as provided in this Agreement or with the consent of the
Insurers, the Company (A) voluntarily commences any case or files any petition seeking
bankruptcy, winding up, dissolution, liquidation, administration, moratorium, reorganization or
other relief under any federal, state or foreign bankruptcy, insolvency, administrative receivership
or similar law now or hereafter in effect except consistent with this Agreement, (B) consents to
the institution of, or fails to contest in a timely and appropriate manner, any involuntary proceeding
or petition described below, (C) applies for or consents to the appointment of a receiver,
administrator, administrative receiver, trustee, custodian, sequestrator, conservator or similar
official, trustee or an examiner pursuant to Section 1104 of the Bankruptcy Code in any of the
Chapter 11 Cases, or (D) makes a general assignment or arrangement for the benefit of creditors;

                       (vi)    the Milestones set forth in Section 3 of this Agreement (as they
apply to the 9019 Motion and the Settlement Approval Order only) have not been achieved,
extended, or waived after the required date for achieving such Milestone, unless such failure is the
result of any act, omission or delay on the part of the Insurers in violation of its obligations under
this Agreement (in which case this Insurer Termination Event shall not be available as a basis for
termination of this Agreement to the Insurers); or

                       (vii) after entry by the Bankruptcy Court of the Settlement Approval
Order, such order is reversed, dismissed, stayed, vacated or reconsidered or modified or amended
in a manner that materially affects the rights and obligations of the Insurers, without the consent
of the Insurers.

               e.     Mutual Termination. This Agreement may be terminated in writing by
mutual agreement of the Company Entities and each of the Supporting Parties (collectively with
the Zohar Lender Termination Events, the Company Termination Events, the Relator Termination
Events, and the Insurer Termination Events, each, a “Termination Event”).

               f.       Effect of Termination. Upon any termination of this Agreement in
accordance with this Section 6, this Agreement shall forthwith become null and void and of no
further force or effect as to any Party, and each Party shall, except as provided otherwise in this
Agreement, be immediately released from its liabilities, obligations, commitments, undertakings,
and agreements under or related to this Agreement and shall have all the rights and remedies that
it would have had and shall be entitled to take all actions that it would have been entitled to take


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had it not entered into this Agreement; provided that in no event shall any such termination relieve
a Party from any liability for its breach or non-performance of its obligations hereunder that arose
prior to the date of such termination or any obligations hereunder that expressly survive
termination of this Agreement under Section 16 hereof, and provided further, that notwithstanding
anything to the contrary herein, the right to terminate this Agreement under this Section 6 shall not
be available to any Party whose failure to fulfill any material obligation under this Agreement has
been the cause of, or resulted in, the occurrence of the applicable Termination Event. Upon the
termination of this Agreement that is limited in its effectiveness as to an individual Party or Parties
in accordance with Section 6: (i) this Agreement shall become null and void and of no further force
or effect with respect to the terminated Party or Parties, who shall be immediately released from
its or their liabilities, obligations, commitments, undertakings, and agreements under or related to
this Agreement and shall have all the rights and remedies that it or they would have had and such
Party or Parties shall be entitled to take all actions that it or they would have been entitled to take
had it or they not entered into this Agreement; provided, the terminated Party or Parties shall not
be relieved of any liability for breach or non-performance of its or their obligations hereunder that
arose prior to the date of such termination or any obligations hereunder that expressly survive
termination of this Agreement under Section 16 hereof; and (ii) this Agreement shall remain in
full force and effect with respect to all Parties other than the terminated Party or Parties. The
Company acknowledges that, after the Petition Date, the giving of notice of termination by any
Party pursuant to this Agreement shall not be considered a violation of the automatic stay of
Section 362 of the Bankruptcy Code. For the avoidance of doubt, any termination of this
Agreement after the Settlement Approval Order is entered will not alter the Parties’ rights or
obligations under the Qui Tam Settlement, including any release which has taken effect under the
terms of that Qui Tam Settlement.

                 7.       Definitive Documents; Good Faith Cooperation; Further Assurances.

        Subject to the terms and conditions described herein, during the Support Period, each Party,
severally and not jointly, hereby covenants and agrees to reasonably cooperate with each other in
good faith in connection with, as applicable, the negotiation, drafting, execution (to the extent such
Party is a party thereto), consummation, and delivery of the Definitive Documents. Furthermore,
subject to the terms and conditions hereof, each of the Parties shall take such action as may be
reasonably necessary or reasonably requested by the other Parties to carry out the purposes and
intent of this Agreement, including making and filing any required regulatory filings.
Notwithstanding the foregoing, provided that they take no action in contravention of this
Agreement, the Insurers shall have no further obligations or duties under this Agreement after the
Settlement Approval Order becomes final and the Insurers make payment in full of the Cash
Payments in accordance with the Qui Tam Settlement Agreement.1

                 8.       Representations and Warranties.

                 a.     Each Party, severally and not jointly, represents and warrants to the other
Parties that the following statements are true, correct, and complete as of the date hereof (provided,

1   A “final” Settlement Approval Order is a Settlement Approval Order that remains in effect and has not been
    reversed, withdrawn, vacated, or stayed, and as to which the time to appeal or seek review, rehearing, or writ of
    certiorari has expired or, if such appeal or review has been taken, it has been resolved and no longer remains
    pending.

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however, that with respect to the Zohar Lenders, it is understood that the following statements are
subject to the terms of the Company G Order):

                         (i)    such Party is validly existing and in good standing under the laws of
its jurisdiction of incorporation or organization, and has all requisite corporate, partnership, limited
liability company, or similar authority to enter into this Agreement and carry out the transactions
contemplated hereby and perform its obligations contemplated hereunder; and the execution and
delivery of this Agreement and the performance of such Party’s obligations hereunder have been
duly authorized by all necessary corporate, limited liability company, partnership, or other similar
action on its part;

                         (ii)   the execution, delivery, and performance by such Party of this
Agreement does not and will not (A) violate any provision of law, rule, or regulation applicable to
it, its charter, or bylaws (or other similar governing documents), or (B) conflict with, result in a
breach of, or constitute a default under any material contractual obligation to which it is a party
(provided, however, that with respect to the Company, it is understood that commencing the
Chapter 11 Cases may result in a breach of or constitute a default under such obligations);

                       (iii)  this Agreement is, and each of the other Definitive Documents to
which such Party is a party prior to its execution and delivery will be, duly authorized;

                      (iv)   except as expressly provided in this Agreement, the Stalking Horse
Agreement, or the Bankruptcy Code, the execution, delivery, and performance by such Party of
this Agreement does not and will not require any registration or filing with, consent or approval of
or notice to, or other action with or by, any other Person, including any federal, state, or
governmental authority or regulatory body, except such filings as may be necessary and, with
respect to the Company, will be required by the Bankruptcy Court; and

                        (v)     this Agreement, and each of the Definitive Documents to which
such Party is a party will be following execution and delivery thereof, is the legally valid and
binding obligation of such Party, enforceable against it in accordance with its terms, except as
enforcement may be limited by bankruptcy, insolvency, reorganization, moratorium, or other
similar laws relating to or limiting creditors’ rights generally or by equitable principles relating to
enforceability or a ruling of the Bankruptcy Court.

                 b.       Subject and to the extent of the terms of the Company G Order, each Zohar
Lender severally (and not jointly) represents and warrants to the Company that, as of the date
hereof (or, if later, as of the date such Zohar Lender becomes a party hereto):

                          (i) such Zohar Lender is the beneficial owner of (or investment
            manager, advisor, or subadvisor to one or more beneficial owners of) the aggregate
            principal amount of Term Loan Claims set forth below its name on the signature page
            hereto; 2


2 For the avoidance of doubt and to be clear, MBIA Insurance Corp. (not the Zohar Lenders) is the beneficial and
equitable owner of the loan and equity interests in MDHI that were issued or are otherwise recorded in the name of
Zohar I specifically since MBIA acquired all of Zohar I’s assets as the result of a foreclosure action in January

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                          (ii) such Zohar Lender has, with respect to the beneficial owners of such
           Term Loan Claims (as may be set forth on a schedule to such Zohar Lender’s signature
           page hereto), (A) sole investment or voting discretion with respect to such Term Loan
           Claims, (B) full power and authority to vote on and consent to matters concerning such
           Term Loan Claims, and to exchange, assign, and transfer such Term Loan Claims, and
           (C) full power and authority to bind or act on the behalf of such beneficial owners;

                            (iii) other than pursuant to this Agreement, such Term Loan Claims are
           free and clear of any pledge, lien, security interest, charge, claim, option, proxy, voting
           restriction, right of first refusal, or other limitation on disposition or encumbrance of any
           kind, that would prevent in any way such Zohar Lender’s performance of its obligations
           contained in this Agreement at the time such obligations are required to be performed;
           and

                         (iv) such Zohar Lender is not the beneficial owner of (or investment
           manager, advisor, or subadvisor to one or more beneficial owners of) any other Term
           Loan Claims against any Company Entity.

                 c.      No action or inaction on the part of any director, officer or advisor of any
Zohar Lender that Joseph J. Farnan, Jr. (independent director of the Zohar Lenders) reasonably
concludes, in consultation with counsel, is required by their fiduciary duties to such Zohar Lender,
its creditors, or its Chapter 11 estate, shall be limited or precluded by this Agreement.

                9.       Additional Provisions Regarding Company Entities’ Commitments.

               a.      No action or inaction on the part of any director, manager or officer of any
Company Entity that such directors, managers or officers reasonably believe is required by their
fiduciary duties to such Company Entity shall be limited or precluded by this Agreement.

                 b.     Prior to entry of the Bidding Procedures Order, in the event that the
Company determines that a proposal for an Alternative Transaction or a competing offer is higher
or otherwise better, the Company shall notify the Zohar Lenders in writing within two (2) calendar
days after making such determination and the Zohar Lenders shall submit any competing offer
within one (1) calendar day after receiving the notice. After entry of the Bidding Procedures Order,
notwithstanding anything to the contrary in this Agreement, but subject to the terms of Section 9.a
and the Bidding Procedures, the Bidding Procedures Order, and the Stalking Horse Agreement,
each Company Entity and its respective directors, officers, employees, investment bankers,
attorneys, accountants, consultants, and other advisors or representatives shall have the right to:
(i) consider or respond to any proposals for Alternative Transactions or competing offers in the
Sale Process that are higher or otherwise better as determined by the Company in its sole
discretion, (ii) provide access to non-public information concerning any Company Entity to any
person who enters into confidentiality agreements or nondisclosure agreements with the Company,
(iii) maintain or continue discussions or negotiations with respect to Alternative Transactions or


2017. For purposes of this Agreement, MBIA Insurance Corp. takes no issue with the Zohar Lenders, on behalf of
Zohar I, making the requisite representations herein in order to consummate the agreements reflected in this
Agreement.


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competing offers in the Sale Process, (iv) otherwise respond to inquiries or proposals and
undertake discussions thereof, with respect to Alternative Transactions or competing offers in the
Sale Process, and (v) enter into discussions or negotiations with holders of Claims or Interests, any
other party in interest in the Chapter 11 Cases (including any official committee and the United
States Trustee). If the board of directors of the Company Entities decides (i) that proceeding with
the Restructuring would be inconsistent with the exercise of its fiduciary duties or applicable Law
or (ii) in the exercise of its fiduciary duties, to pursue a proposal for an Alternative Transaction (a
“Fiduciary Out”), such decision shall not be limited or precluded by this Agreement and the
Company shall notify the Supporting Parties in writing within two (2) Business Days of such
decision. Upon acceptance of any Alternative Transaction, the Company shall share a copy of
such Alternative Transaction and the terms and provisions thereof with the Zohar Lenders. Upon
any determination by any Company Party to exercise a Fiduciary Out, the other Parties to this
Agreement shall be immediately and automatically relieved of any obligation to comply with their
respective covenants and agreements herein in accordance with Section 6.b hereof.

                 c.    Notwithstanding anything to the contrary herein, nothing in this Agreement
shall create or impose any additional fiduciary obligations upon any Company Entity or any of the
Zohar Lenders, or any members, partners, managers, managing members, officers, directors,
employees, advisors, principals, attorneys, professionals, accountants, investment bankers,
consultants, agents or other representatives of the same or their respective affiliated entities, in
such person’s capacity as a member, partner, manager, managing member, officer, director,
employee, advisor, principal, attorney, professional, accountant, investment banker, consultant,
agent or other representative of such Party, that such entities did not have prior to the Agreement
Effective Date.

               d.       Nothing in this Agreement shall prevent any Company Entity from
enforcing this Agreement or contesting whether any matter, fact, or thing is a breach of, or is
inconsistent with, this Agreement.

               10.     Amendments and Waivers.

                a.    This Agreement may not be modified, amended, or supplemented, and no
condition or requirement of this Agreement may be waived, in any manner except in accordance
with this Section 10.

               b.      This Agreement may be modified, amended, or supplemented, or a
condition or requirement of this Agreement may be waived, in a writing signed: (i) in the case of
a waiver, by the Party against whom the waiver is to be effective, and (ii) in the case of a
modification, amendment, or supplement, by the Company Entities and the Zohar Lenders,
provided that (A) if the proposed modification, amendment, supplement or waiver will result in a
material change from the terms provided in this Agreement that adversely affects the rights or
obligations of the Relators or the Insurers, then the written consent of such affected Party shall
also be required to effectuate such modification, amendment, supplement or waiver; (B) any
proposed modification, amendment, supplement or waiver to Section 6.d or this Section 10 shall
require the written consent of the Insurers; and (C) any proposed modification, amendment,
supplement or waiver to Section 6.c or this Section 10 shall require the written consent of the
Relators.

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                11.     Effectiveness.

        This Agreement shall become effective and binding on the Parties on the Agreement
Effective Date.

                12.     Governing Law; Jurisdiction; Waiver of Jury Trial.

                a.      Except to the extent superseded by the Bankruptcy Code, this Agreement
shall be construed and enforced in accordance with, and the rights of the parties shall be governed
by, the law of the State of Delaware, without giving effect to the conflicts of law principles thereof.

                 b.        Each of the Parties irrevocably agrees that any legal action, suit, or
proceeding arising out of or relating to this Agreement brought by any party or its successors or
assigns shall be brought and determined in (a) the Bankruptcy Court, for so long as the Chapter 11
Cases are pending, and (b) otherwise, any federal or state court in the state of Delaware, and each
of the Parties hereby irrevocably submits to the exclusive jurisdiction of the aforesaid courts for
itself and with respect to its property, generally and unconditionally, with regard to any such
proceeding arising out of or relating to this Agreement. Each of the Parties agrees not to commence
any proceeding relating hereto or thereto except in the courts described above, other than
proceedings in any court of competent jurisdiction to enforce any judgment, decree or award
rendered by any such court as described herein. Each of the Parties further agrees that notice as
provided herein shall constitute sufficient service of process and the Parties further waive any
argument that such service is insufficient. Subject to the foregoing, each of the Parties hereby
irrevocably and unconditionally waives, and agrees not to assert, by way of motion or as a defense,
counterclaim, or otherwise, in any proceeding arising out of or relating to this Agreement, any
claim (i) that it is not personally subject to the jurisdiction of the courts as described herein for any
reason, (ii) that it or its property is exempt or immune from jurisdiction of any such court or from
any legal process commenced in such courts (whether through service of notice, attachment prior
to judgment, attachment in aid of execution of judgment, execution of judgment, or otherwise) and
(iii) that (A) the proceeding in any such court is brought in an inconvenient forum, (B) the venue
of such proceeding is improper, or (C) this Agreement, or the subject matter hereof, may not be
enforced in or by such courts.

            c.    EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY (WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY). EACH
PARTY (I) CERTIFIES THAT NO REPRESENTATIVE, AGENT, OR ATTORNEY OF ANY
OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.




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               13.     Specific Performance/Remedies.

        The Parties agree that irreparable damage would occur if any provision of this Agreement
were not performed in accordance with the terms hereof and that the Parties shall be entitled to
seek an injunction or injunctions without the necessity of posting a bond to prevent breaches of
this Agreement or to enforce specifically the performance of the terms and provisions hereof, in
addition to any other remedy to which they are entitled at law or in equity. Unless otherwise
expressly stated in this Agreement, no right or remedy described or provided in this Agreement is
intended to be exclusive or to preclude a Party from pursuing other rights and remedies to the
extent available under this Agreement, at law, or in equity.

               14.     Survival.

         Notwithstanding the termination of this Agreement pursuant to Section 6 hereof, the
agreements and obligations of the Parties set forth in Sections 6.f, 10, and 12 through 25 (inclusive
and any defined terms used in any such Sections) shall survive such termination and shall continue
in full force and effect for the benefit of the Parties in accordance with the terms hereof; provided
that any liability of a Party for failure to comply with the terms of this Agreement also shall survive
such termination.

               15.     Headings.

        The headings of the sections, paragraphs, and subsections of this Agreement are inserted
for convenience only and shall not affect the interpretation hereof or, for any purpose, be deemed
a part of this Agreement.

               16.     Successors and Assigns; Severability; Several Obligations.

        This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, permitted assigns, heirs, executors, administrators, and representatives,
including, without limitation, any trustee for any Company Entity appointed pursuant to Section
1104 of the Bankruptcy Code in any of the Chapter 11 Cases and any Chapter 7 trustee appointed
for any Company Entity in the event that any of the Chapter 11 Cases are converted to cases under
Chapter 7 of the Bankruptcy Code; provided that nothing contained in this Section 16 shall be
deemed to permit Transfers of interests in any Claims against any Company Entity other than in
accordance with the express terms of this Agreement. If any provision of this Agreement, or the
application of any such provision to any person or entity or circumstance, shall be held invalid or
unenforceable in whole or in part, such invalidity or unenforceability shall attach only to such
provision or part thereof and the remaining part of such provision hereof and this Agreement shall
continue in full force and effect so long as the economic or legal substance of the transactions
contemplated hereby is not affected in any manner materially adverse to any Party. Upon any such
determination of invalidity, the Parties shall negotiate in good faith to modify this Agreement so
as to effect the original intent of the Parties as closely as possible in a reasonably acceptable
manner in order that the transactions contemplated hereby are consummated as originally
contemplated to the greatest extent possible. The agreements, representations, and obligations of
the Parties are, in all respects, several and neither joint nor joint and several.



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               17.     No Third-Party Beneficiaries.

       Unless expressly stated herein, this Agreement shall be solely for the benefit of the Parties
and no other person or entity shall be a third-party beneficiary hereof.

               18.     Prior Negotiations; Entire Agreement.

       This Agreement, including any exhibits and schedules hereto (including the Qui Tam
Settlement), constitutes the entire agreement of the Parties, and supersedes all other prior
negotiations, with respect to the subject matter hereof and thereof, except that the Parties
acknowledge that any confidentiality agreements (if any) heretofore executed between the
Company and any Zohar Lender shall continue in full force and effect in accordance with their
terms.

               19.     Counterparts.

       This Agreement may be executed in several counterparts, each of which shall be deemed
to be an original, and all of which together shall be deemed to be one and the same agreement.
Execution copies of this Agreement may be delivered by facsimile, electronic mail, or otherwise,
which shall be deemed to be an original for the purposes of this paragraph.

               20.     Notices.

        All notices hereunder shall be deemed given if in writing and delivered, by electronic mail,
courier or by registered or certified mail (return receipt requested), to the following addresses (or
at such other addresses as shall be specified by like notice):

   (1)     If to the Company, to:

   MD Helicopters, Inc.
   4555 E. McDowell Road
   Mesa, AZ 85215
   Tel:    (480) 346-6638
   Attn: Y.R. Hladkyj, Esq.
   Email: yr.hladkyj@mdhelicopters.com

   with a copy (which shall not constitute notice) to:

   Latham & Watkins LLP
   1271 Avenue of the Americas
   New York, NY 10022
   Tel: (212) 906-1200
   Attn: Suzzanne S. Uhland, Esq. and Adam S. Ravin, Esq.
   Email: suzzanne.uhland@lw.com and adam.ravin@lw.com

   (2) If to the Zohar Lenders, to the addresses or facsimile numbers set forth below such Zohar
   Lender’s signature to this Agreement, with a copy (which shall not constitute notice) to:


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  Young Conaway Stargatt & Taylor, LLP
  1000 North King Street
  Wilmington, DE 19801
  Tel:   (302) 571-6600
  Attn:  Michael R. Nestor, Esq. and Ryan M. Bartley, Esq.
  Email: mnestor@ycst.com and rbartley@ycst.com

  (3)    If to the Relators, to:

  Reese Marketos LLP
  750 N. St. Paul Street, Suite 600
  Dallas, TX 75201
  Tel:     (214) 382-9810
  Attn:    Pete Marketos, Esq. and Joshua M. Russ, Esq.
  Email: pete.marketos@rm-firm.com and josh.russ@rm-firm.com

  (4)    If to the Insurers, to:

  Dentons US LLP
  233 South Wacker Drive, Suite 5900
  Chicago, IL 60606-6361
  Tel:    (312) 876-8220
  Attn:   Keith Moskowitz, Esq. and Patrick C. Maxcy, Esq.
  Email: keith.moskowitz@dentons.com and patrick.maxcy@dentons.com

      Any notice given by electronic mail, facsimile, delivery, mail, or courier shall be effective
when received.

              21.      Reservation of Rights; No Admission.

                a.     Except as expressly provided in this Agreement, nothing herein is intended
to, or does, in any manner waive, limit, impair, or restrict the ability of each of the Parties to
protect and preserve its rights, remedies, and interests, including its claims against any of the
other Parties (or their respective affiliates or subsidiaries) or its full participation in any
bankruptcy case filed by the Company or any of its affiliates and subsidiaries. This Agreement
is part of a proposed settlement of matters that could otherwise be the subject of litigation among
the Parties. Pursuant to Rule 408 of the Federal Rule of Evidence, any applicable state rules of
evidence, and any other applicable law, foreign or domestic, this Agreement and all negotiations
relating thereto shall not be admissible into evidence in any proceeding other than a proceeding
to enforce its terms. This Agreement shall in no event be construed as or be deemed to be
evidence of an admission or concession on the part of any Party of any claim or fault or liability
or damages whatsoever. Each of the Parties denies any and all wrongdoing or liability of any
kind and does not concede any infirmity in the claims or defenses which it has asserted or could
assert.




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               22.    No Solicitation; Representation by Counsel; Adequate Information.

              a.      This Agreement is not and shall not be deemed to be a solicitation for votes
in favor of any plan in the Chapter 11 Cases.

              b.      Each Party acknowledges that has been represented by counsel in
connection with this Agreement and the transactions contemplated hereby. Accordingly, any rule
of law or any legal decision that would provide any Party with a defense to the enforcement of
the terms of this Agreement against such Party based upon lack of legal counsel shall have no
application and is expressly waived.

               23.    Non-Disparagement

               a.     The Relators, the Company, and the Insurers agree not to make any
statements relating to the Qui Tam Settlement or the Restructuring, written or verbal, or cause or
encourage others to make any statements relating to the Qui Tam Settlement or the Restructuring,
written or verbal, that defame, disparage, or in any way criticize the personal or business
reputation, products, practices, services, or conduct of each other. Likewise, the Relators, the
Company, and the Insurers agree that they will instruct their successors, attorneys, agents, assigns,
officers, and employees not to make any statements relating to the Qui Tam Settlement or the
Restructuring, written or verbal, or cause or encourage others to make any statements relating to
the Qui Tam Settlement or the Restructuring, written or verbal, that defame, disparage, or in any
way criticize the personal or business reputation or conduct of each other.

               b.     However, nothing in the Agreement shall prevent any Party from making
truthful statements in compliance with a lawful subpoena or order from a court of competent
jurisdiction.

               24.    Email Consents.

       Where a written consent, acceptance, approval, notice, or waiver is required pursuant to or
contemplated by this Agreement, such written consent, acceptance, approval, or waiver shall be
deemed to have occurred if, by agreement between counsel to the Parties submitting and receiving
such consent, acceptance, approval, or waiver, it is conveyed in writing (including electronic
email) between each such counsel without representations or warranties of any kind on behalf of
such counsel.

               25.    Interpretation.

       For purposes of this Agreement:

                a.    in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;

              b.      capitalized terms defined only in the plural or singular form shall
nonetheless have their defined meanings when used in the opposite form;


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               c.      unless otherwise specified, any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that such document shall be substantially in such form or
substantially on such terms and conditions;

               d.      unless otherwise specified, any reference herein to an existing document,
schedule, or exhibit shall mean such document, schedule, or exhibit, as it may have been or may
be amended, restated, supplemented, or otherwise modified from time to time; provided that any
capitalized terms herein which are defined with reference to another agreement, are defined with
reference to such other agreement as of the date of this Agreement, without giving effect to any
termination of such other agreement or amendments to such capitalized terms in any such other
agreement following the date hereof;

                e.      unless otherwise specifically stated herein, the provisions of Bankruptcy
Rule 9006(a) shall apply in computing any period of time prescribe or allowed herein. If any
payment, distribution, act or deadline hereunder is required to be made or performed or occurs on
a day that is not a Business Day, then the making of such payment or distribution, the performance
of such act, or the occurrence of such deadline shall be deemed to be on the next succeeding
Business Day, but shall be deemed to have been completed or to have occurred as of the required
date;

                f.     unless otherwise specified, all references herein to “Sections” are references
to Sections of this Agreement;

                g.      the words “herein,” “hereof,” and “hereto” refer to this Agreement in its
entirety rather than to any particular portion of this Agreement;

               h.      captions and headings to Sections are inserted for convenience of reference
only and are not intended to be a part of or to affect the interpretation of this Agreement;

               i.      references to “shareholders,” “directors,” and/or “officers” shall also
include “members” and/or “managers,” as applicable, as such terms are defined under the
applicable limited liability company laws; and

               j.      the use of “include” or “including” is without limitation, whether stated or
not.




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               IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed and delivered by their respective duly authorized officers, solely in their respective
capacity as officers of the undersigned and not in any other capacity, as of the date first set forth
above.




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                             RELATORS

                             Philip Marsteller
                             Robert M. Swisher



                             By;
                             Name: Phihp



                             By:
                             Name: Robert M. Swisher




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                            RELATORS

                            Philip Marsteller
                            Robert M. Swisher



                            By:
                            Name: Philip Marsteller



                            By:         ,�                -
                            Name: RobertMwisher




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Zohar CDO 2003-1, Limited
Zohar II 2005-1, Limited
Zohar III, Limited


By:

Name: Michael Katzenstein
Title: Chief Restructuring Officer

Notice Address:

1166 Avenue of the Americas
15th Floor
New York, NY 10036
United States

Email address: mike.katzenstein@fticonsulting.com


Aggregate Outstanding Principal Amount of the Term Loans:

Zohar CDO 2003-1, Limited: $61,647,494.35
Zohar II 2005-1, Limited: $141,439,374.43
Zohar III, Limited: $104,245,140.82




                     [Signature Page to Restructuring Support Agreement]
